      Case 3:24-cv-02311-TSH         Document 69-3   Filed 10/30/24   Page 1 of 54



 1   BARBARA J. PARKER, City Attorney, SBN 069722
     MARIA BEE, Chief Assistant City Attorney, SBN 167716
 2   JOHN A. BURKE, Supervising Deputy City Attorney, SBN 148385
     CHRISTINA LUM, Deputy City Attorney, SBN 278324
 3   One Frank H. Ogawa Plaza, 6th Floor
     Oakland, California 94612
 4   Telephone: (510) 238-4483; Fax: (510) 238-6500
     Email: clum@oaklandcityattorney.org
 5   X05557/3375490v1

 6   Attorneys for Defendant,
     CITY OF OAKLAND
 7

 8

 9                              UNITED STATES DISTRICT COURT
10                          NORTHERN DISTRICT OF CALIFORNIA
11                                   SAN FRANCISCO DIVISION
12

13   CITY and COUNTY of SAN FRANCISCO,               Case No. 3:24-cv-02311-TSH
14                     Plaintiff,                    DECLARATION OF CHRISTINA LUM
                                                     IN SUPPORT OF MOTION FOR
15   v.                                              SUMMARY JUDGMENT
16   CITY of OAKLAND and PORT OF OAKLAND,            Date: December 5, 2024
                                                     Time: 10 a.m.
17                     Defendants.                   Courtroom: E – 15th Floor
18

19

20

21

22

23

24

25

26

27

28


     DECLARATION OF CHRISTINA LUM IN SUPPORT OF                              3:24-cv-02311-TSH
     MOTION FOR SUMMARY JUDGMENT
      Case 3:24-cv-02311-TSH            Document 69-3        Filed 10/30/24       Page 2 of 54



 1   I, Christina Lum, declare as follows:
            1.      I am an attorney licensed to practice before all courts of the State of California. I
 2
     am a Deputy City Attorney with the Office of the City Attorney for the City of Oakland, counsel
 3
     of record for Respondent City of Oakland.
 4
            2.      Exhibit 1 is a true and correct copy of City of Oakland Ordinance No. 3825
 5
     N.S., dated February 14, 1927.
 6
            3.      Exhibit 2 is a true and correct copy of City of Oakland Ordinance No. 3826
 7
     N.S., dated February 14, 1927.
 8
            4.      Exhibit 3 is a true and correct copy of the current Article VII of the Charter of
 9
     the City of Oakland.
10
            5.       Exhibit 4 is a true and correct copy of excerpts from “Property Owned by the
11
     Port of Oakland,” from Port of Oakland, Land Surveys and Mapping, 530 Water Street,
12
     Oakland California, dated September 4, 2012.
13
            6.      Exhibit 5 is a true and correct copy of “Order Granting in Part and Denying in
14   Part Motion to Dismiss,” from United States District Court, Northern District of California,
15   case no. 18-CV-03353-KAW, dated October 5, 2018.
16          I declare under penalty of perjury under the laws of the State of California and the United
17   States that the foregoing is true and correct.
18          Executed on this 30th day of October 2024 in Oakland, California.
19

20

21
                                             Christina Lum
22

23

24

25

26

27

28

                                                       1
      DECLARATION OF CHRISTINA LUM IN SUPPORT OF                                           3:24-cv-02311-TSH
      MOTION FOR SUMMARY JUDGMENT
Case 3:24-cv-02311-TSH   Document 69-3   Filed 10/30/24   Page 3 of 54




     EXHIBIT 1
                Case 3:24-cv-02311-TSH                          Document 69-3                       Filed 10/30/24              Page 4 of 54



                                                                                                        APPROVED         AS     TO    FORM       AND         LEGALITY.

                                                                                                                    7


INTRODUCED       BY    COMMISSIONER.......~~~~~'~~-
                                   TrH


                                                                                                                                                 ITY   ATT      EY.




                                      ORDINANCE N o. - - - - _N~-
                                                               . S.
                                                                  -


                                              AN       ORDITdATdCE        FITdDIT~~'
                                                                                  G        Ald̀ll DETERTuTINING         VARIOUS
                                      1~~
                                      r1RS
                                        IATT: IId R~;
                                                   LATIOTd TO                        THr; 3LISHTa~
                                                                                          F,     STA] 0~'
                                                                                                 ivT    A PORT
                                      D'~
                                      TdT
                                        PARTT~; UND~;
                                                   R                  THE;      CfJdTROL         AN]) JURISDICTION              OF    A
                                      BOARD       OFCCP~PORT
                                                        TPIISSIOTdLRS, AS I='     ROVIDrD BY ARTICLE
                                      CkV OF THT C.
                                                 i4RT~:
                                                     T.ATIFYITdG,
                                                     R,  ~               CUNFIRI.~IiaG ANi) DEL~-
                                      ING UNTO THE SAID BOr~
                                      GA'1'                   BD THOSE dL' PO'R    s  S,' DUTIES,
                                      ROPl;c'~
                                      TY     ~~AND
                                             IGHTS                             I~'
                                                                                UTuCTIOTvS '~ KTAITdIT`1G               T1i;:~
                                                                                                                           RETO,
                                      AN:O   C7 b'Uiy' V:'~-
                                             PROVIi)I~; tIOUS ADJUSTPI~;NTS                                       T'
                                                                                                                   rliitEOF     TTd R°
                                                                                                                                     r;-
                                      LA^
                                        lIOTu      TO        li; NTS
                                                            l~   DE'1Td~
                                                                 A~~I'. OF TH'L CITY.




                                                RL' the people
                                              AS,
                                              V7.~;                                       of the      City    of    Oakland, on

                      December         21, 1926, adopted                   an       amendment        to     the    charter       of the          city by

                      adding       thereto         a    certain       article             knotim    as . 4TtTICLE       XXV, consisting                  of


                      Sections         206    to       231    inclusive, thereby                    establishing           a    Tort       Department

                      of   the     city, and assigning                     and       placing        said     department          and       all    matters,

                      employments, contracts, and properties                                        of the        city relating             to    the


                      port    and      harbor          under    the       control          and                          ofa     Board
                                                                                                   management                               of    Port


                      Commissioners;               and


                                               HEREA. the Legislature
                                              S,
                                              o'                                                   of the     State       of California                on



                      January         13, 1927, duly                s.
                                                                     nd    regul.arl; ratified
                                                                           r                                      the    said    amendment;              and


                                              ti~'
                                              NEAS, i.
                                                Ht^.'t ed
                                                       provi.d.therein                                     that    except       for       the    purpose

                      of   appointing the                   members       of    and       organizing the            Board       of    Port       Com-


                      missioners, the                  said    amendment             shall       take      effect       thirty days             after        said


                      ratification, to-.
                                      vit, on February 12, 1927, and                                                said       amendment          is     nom



                      about      to    become          of    full   force           and    effect:


                                              NO1u, THEitiEFORE,                BE    IT    ORDAITdED        by    the. Council            of the        City

                      of   Oakland,          as    follows:

                                              Section          1.     The       City Council hereby finds                        and       determines

                      that    on      and    follotiring        the       said       12th            of . February,
                                                                                             day                               1927, the          Board


                      of Port         Commissioners             shall          be vested           v~
                                                                                                    rith                   and
                                                                                                            complete                 exclusive


                      jurisdiction            and       control       as       t;
                                                                                e    all    matters        concerning the port                    axzd


                      harbor       of the         city, and         over        the " Port          Area" described              in    said




FORM   O.   2




                                                                                     1-
Case 3:24-cv-02311-TSH                            Document 69-3                        Filed 10/30/24                  Page 5 of 54




  tTICI~ 7CXV, and
 A~                                   shall have             and exercise               all the powers, duties,                               and


                                                    in       said       article,            the    City       Council            hereby
 functions           as    is    provided

                                                                                unto        the    saioa      Board         all    the
 ratifying, confirming and delegating

                                and functions                 pertaining               to    or    incidental to                   its       pur-
  pcss*ers, duties


  poses    as     in      said article              provided.

                                                                                                                                    and       deter-
                           Section           2.     The       said        City Council               further           finds


 mines     that,          in s.
                              acordance                                  XXV, the
                                                        with said ARTICI.~                                          jurisdiction and

  control        of all the waterfront                            properties, and                  lands          adjacent thereto,-or

                                                                         aryl     apprcaahes thereto, storage                                 facil-
  under    water, structures thereon,

  ities, and other utilities, and all leases, easements, permits, privi-

                               and        interests          belonging thereto,                         but   not      franchises,
  leges, rights

  which    are       na~
                       r       owned        or    possessed              or     under        lease       or   purchase, by the City

  of Oakland,             including all                 salt        or    marsh        or        tide lands and structures


                                     to    the    city in          trust          by the          State of California,                        and     all
  thereon        granted

                                      within the                                       shall       on    said       date      bs vested             ez-
  other        properties                                     part       area,


  elusively          in        said       Board    of Port              Commissioners.


                               Section       3.     The        Council further                     finds      and determines that


                                                        and                                 of    all    dredges            and    other       water
  the    jurisdiction, control                                     possession

  craft, automobiles,                       office furniture,                                      ps, files, documents,
                                                                                      equipment, ~e-

  and other          personal property pertaining                                      to    or    relating            to    the       said     Port


                                its       functions,              shall       on      and after          said date            be       vested       ex-
  Dapartuent           or



  clusiveiy          in        the    said Board.

                               S®
                                ction 4.                In    connection              with the           foregoing               seotioa        the


     issioner of Public
  Coz~                                            Works           and    the       Port      manager          are
                                                                                                                       hereby          directed


  and authorized                 to       prepare        an       inventory, or inventories, designating                                            prop-

  erties        in    said       section          referred              toy     and     to       file    a    copy of            said        inven-


  tories with              the       City    Clerk           and    the said Board,                     as    a   public          record        thereof.


  The                     of    such       inventory, or inventories, shall                                       be    deemed           a    delivery
          filing

  of     the    possession of                all        properties designated                           therein         to       the     said       Board.


                               Section       5.         The       Council further                  finds and determines                         that       on




  and after said date                       the     said          Board of Port                  Co~
                                                                                                   nissioners                shall           have    and


   exercise          full       control           and    jurisdiction over all                           lawful         ordinances,                 reso-



   lutions, regulations, employments, duties, contracts,                                                               claims, leases,

   and    obligations pertaining                             to    or     related           to    harbor work               or    harbor        con-



   struction,             port development,                       its    management and operation, and                                       to air


                                                                              N   r
Case 3:24-cv-02311-TSH                        Document 69-3                    Filed 10/30/24                   Page 6 of 54




 and all      other        matters          included          in the         said ARTICLE XXY, all of                         which, as

 in said article                provided, shall                   continue         in    force       until        duly amended,

  pealed or abolished by
 r®                                            said          Board,

                       Section          6.     In       connection with the matters mention®d                                        in the


 preceding section,                   the    Council         particularly                finds       and     determines          that

 the   follo~
            ring positions                    and       please         of    employment             now     in the Department               of


 Public     Works      pertain          to    and       relate         to    the    said       Port        Department;


                Port manager do Chief Harbor Engineer;  Chief Asst. to
       Fort Manager & Chief Harbor Engineer; Harbor Engineer; Asst.
       Harbor Engineer; Office Engine®r;    Chief Structural Designer;
       Structural Designer Grade " A";  Structural Designer Grade " B";
       2 Structural Designers Grade " C";2 Structural
                                                        Draftsmen;
       2 Draftsmen;  Harbor Field Engineer; 2 Chairmen;    2 Inspectors
       of Construction; Harbor Traffic Investigator;    Tariff & Traffic
       Man; Accountant;   Sr. Clerk ~ Stenographer;   2 Jr. Stenographers;
       City Wharfinger; 3 Asst. Wharfingers; 2 Sr. Bookkeepers=
       2   Watchmen;             2 Extra       Platchrnen;             Waterfront Foreman; 5 ~'aterfront
       Laborers;            S    Extra       Waterfront             Laborers;   1 Tractor Operator;
       4 Pile Driver and Dredge Tenders;  Shpt. of Dredgers; Chief Mate;
       Chief Electrician; 4 Electricians; 3 Y,     evermen; 1 Sub. Le~vsrman~
       3 Deckinates; 1 Sub. Deckmate;  1 General ~deohanic; 1 s 2~  echanio~
       Helper; 2 Levee Bosses; 1 Sub. Levee Bos$; 25 Deckhands or
       Levee Laborers;  Pile Driver Foreman;  Pile Driver Engineer;
       1 Sub. Pils              Driver       Engineer; ~.              Pile        Driver          Foreman      or     Pile     Driver
       Journeyman;               4    Pile Driver            Journeymen;




                      Section 7.               The Commissioner                     of       Public Works            and the      Port


 Manager     are
                    hereby authorized                    and       directed             to    prepare       a   list of all the

 said positions            and        places       of   employment designated                         in    the      preceding

 section, briefly shoring                      therein the                  names    of       the    employees          oacupyiag
 the   same,    in each                       if    any, the           salaries              and    duties
                                     case,                                                                      thereof; and
 the   particular          sections           or    sub-
                                                       sections of Ordinances                               Nos• 1856           N•
                                                                                                                                 S•

 and 185? N.
           3.,pertaining theretoe                                      A copy of              such    list      shall      be   filed

with the       City    Clerk          and     the    Board of Port                  Cotmnissioners,               as   a   record      of

 the   particular employees vrho shall, by virtue                                            of     said    charter        amendment,
become     assigned to               and     placed      under         the    control and              jurisdiction             of    the


 said Board.          1Ahen, and             after      February 12, 192?,the                          Board       of Part

 Come~
     issioners         shall have              adopted            an   ordinance                    ordinances
                                                                                             or
                                                                                                                       taking over
and    classifying, abel3shing, recreating,                                     or      amending           such    positions          and


employments,          or    any of           them,      or
                                                              prescribing               the        duties, authority             and


compensation          thereof, it              shall         be    proper for            the        City Council to             amend


                                                                        3•
Case 3:24-cv-02311-TSH                              Document 69-3                        Filed 10/30/24               Page 7 of 54




ar    repeal      such          sections          or    subsections                of    said    Ordinanoes             Nos. 1858       N.
                                                                                                                                         B.


and 1857          S. as may be
                 N.                               affected          thereby.              Nothing herein, however,                      shall


be construed to prevent                           said       Board in          its       pleasure to             take further action


from time         to       time       as    it    may desire             in    reference to any                   such      employments          or



positions.

                           Section          8. The          Council further                   particularly            finds     and    deter-


mines, without                  atte:~
                                     pting             to    designate all contracts, olaims, obligations

and leases which may be                           affected          thereby, that                the    jurisdiotion             and    control


of    the   following                contracts          shall, in accordance                      with said             charter       amendment,

sat    on   and       after          said    date       be    vested          in    said Board:


                                traot with Smith
                           A oon~                                        Brothers,             Ino.,for           the    oonstruction
             oP the             Fourteenth             Street    Wharf, Outer Harbor.
                           A    contract          with       Clinton Construction Compar;y oP California
             for the             construction                of    the    Grove          Street    Pier.
                           A contraot             with @~'.
                                                        H. Hauser                       for    grading       and      filling
             oertain             area       at    the       Fourteenth Street                   Wharf.
                  An option agreement and lease with Frank 9V'. Taylor,
             G.C, Stephens, et a1.,for the purchase of certain property
             on Bay Farm  Island and within the Port Area,


                           Section 9.              The       Council          further finds             and determines                that, as
                           r.....




provided         in    said          charter       amendment,             the         rriadiction and
                                                                                    jt~                               control of the


following funds, and                        all moneys             therein          contained          or    belonging thereto,

shall,      on    and after                said    date, be          vested             in the    said Board:.


                           1925, Oakland Harbor     Improvement Fund".
                           t' Harbor ~ iintenanae and Improvement hind".
                           Harbor Appropriations, General Fund".

                           That       in    addition thereto all other                            revenues            and   funds      in the


possession            of       the    city       set    aside       for       port purposes, including                        all revenues,


dockages, tolls and                        other       incor~
                                                            te from            the operation                of    the    port    and    its


facilities, and                  the       income       from       leases          of waterfront             properties within                the


Port Area,            or       other       sources          relating to             the       port, new          or   hereafter        to   be


received,         shall          on    and       after       said date             be    apportioned             and appropriated


exclusively to                  the    control of the                said          Board      until     expended by it.

                           Also, all proceeds                      from       the       sale of at~
                                                                                                  q Oakland Harbor

Improvement            Bonds, 1925 issue,                         heretofore             or   hereafter           to be      sold, shall,'

on    and after            said       date, b®vested exclusively                                in the       oontrol and          juris-
diction      of said Board, and there                               is    hereby          conferred upon and                  delegated to
said    Board         full power             and       authority          to       carry out, acquire, construct,

complete         and       maintain          that       certain          muriioipal improvement provided                              for in

said    bond      issue. -~
                 Case 3:24-cv-02311-TSH                                 Document 69-3                  Filed 10/30/24              Page 8 of 54
              j' ~~'
         err -;~ ., ~_...




                                 The    Auditor           and    Treasurer          are    hereby       authorized           and       directed               to


                 set        up the necessary                    accounts       to    oarry       out    the    foregoing           purposes.                  and        to


                 cottply          with the          provisions           of the        said ARTICLE            XXV.

                                 Section          10.      The    City Attorney be. and he                      is    hereby authorized                               and


                 directed              to    transfer           and    deliver       to    the    said Board          alI        reoords, reports,

                 docurr-ents, papers, files                            and    other       property in hie possession                            belonging                   to


                 his        office, which,                 in his       discretion, pertain or                      relate to the                   said          port

                 department,                 or    to     litigation          connected          therewith.           A     receipt            of     such            propsr-


                 ties        sa    transferred, signed by                       the       Port    Attorney, shall                 be    filed            as       a    record


                with         the       City Attorney.                  From    and    after       said          y 12, 1927, the
                                                                                                          Februa_-                                                said


                 Board, for                 and    on     behalf of the             City    of    Oakland, shall                 have and             eaeraiae

                 full control                 and       jurisdiction over                 all    litigation, proceedings                            or       actions, at

                 law        or    in    equity, and special proceedings,                                for    or    against           the      city, pertaining

                 or    related to                 arty matters          within       its    jurisdiction.

                                 Section 11. . All the                   necessary                     and     authority           is                         vested in
                                                                                            power                                         hereby
                 the    officers              of the        City, and they are hereby                         directed           to do and               perform all
                 acts        and       things                     or    convenient          to                 the    affairs
                                                    proper                                        adjust                                of     the           City        in


                 relation $
                          o the                     Port        Department          that    the    said       Board    of        Port     Commissioners                          may

                assume            and       perform its various                 paarers,         duties       and    functions            as        in       said


                Article            XRV       provided, with              the   least confusion                 or    delay.

                                 Section 12.              This        ordinance       shall take          effect       itiusE:d3.
                                                                                                                       ately`




         IN COUNCIL,         OAKLAND,             CAL.,                                             r'?

PASSED        BY THE FOLLOWING                    VOTE
                                                                               CjU 00/1 /~ /~
AYES-COMMISSIONERS                      BACCUS,•
                                        d~    P>
                                              f  t.                                                             PRESIDENT          DAVIE
                                                          MOOREHEAD AND
                                                  COLBOURN~
        s~~
NOES- ~ ~,


ABSENT- ~
                  O"~




                                                                                    ATTEST:.... _ - ' ~~~'

                                                                                                                      MAYOR       O F T'H E    l~
                                                                                                                                          ~~~~~YZ        O        AKLA        D, CAL.




                                                                                                  Z'~.'%
                                                                                                  V14._
                                                                                                   Q-.'"'
                                                                                                        ..._
                                                                                                               j      ~.,,,.-
                                                                                                                        F_'--~---.                                                      __
                                                                                    ATTEST: •'~                                                                         1-
                                                                                                                     CITY   CLERK      AND     CLE           OF   THE    COUNCI
                                                                                                                            OF   THE    CITY    OF.   OAKLAND,           CAL.




PONM   O. H
Case 3:24-cv-02311-TSH   Document 69-3   Filed 10/30/24   Page 9 of 54




     EXHIBIT 2
                       Case 3:24-cv-02311-TSH                                 Document 69-3                      Filed 10/30/24               Page amt
                                                                                                                                                    10 of 54
              r   •   ~   ~
                                                                                                                                                               e
                                                                                                                                                        r




                                                                                                                                   D    AS    TO    FORM        AND       LEGALITY.




 INTRODUCED                   BY
                                                                   GOODR ICiI
                                   COMMISSIONER..._._.._._.._.__._......




                                                                                                                                                    d(.
                                                 ORDINANCE                                NO. ":.~~_.                                   S.


                             AN ORDIDIANCE INVESTING  THE ~ OA.RD OF PORT COt,~ QSSIONERS WITH THE
                      POWEh AND AUTHORITY TO ACQUI:~.
                                                    E, ESTABLISH, EQUIP,     r~  AINTAIPT AND OPERATE
                      AN AIRPORT  AND FACILITIES   INCIDENTAL THERETO WIT~-?
                                                                          IPi THE PORT AREA IN
                      THE      CITY       OF    OAKLAND,           AND    TO     H~
                                                                                  iVE       AND       EXCISE             VARIOUS       POirTERS, DUTIES
                      AND      FUNCTIONS             PERTAINII~'G         TfiERETO.

                                                                                          aarw.   A   ..r̀




                                    BE    IT ORDAIEED              BY    THE     COUNCIL            OF     THE     CITY    OF    OAKLfi.ND     AS       FOLLO4'YS:

                                    Seetian          1.     There        is    hereby             conferred         upon,       delegated          to, and

                      vested         exclusively              in    the       Board       of       Fort      Cozrmiissioners, subject fio                      its


                      approval,            the       pourer    and       authority                in its discretion to                  adquire, establish,

                        uip, maintain
                      et}                              and     operate          an    airport within                     the    port    area       of    the       City
                      of      Oakland, including                    air       terminals, hangars,                        fields for                           and
                                                                                                                                             lending
                      flying aircrafts, mooring masts, lights, repair shape                                                            and    other          facilities,
                      appliances,               and    structures              incidental                thereto,         of    such    number          and    character


                      and      in    such       places              the       Baard                   in     its
                                                              as
                                                                                          may,                      judgment, deem             advisable and

                      proper.             In    so    doing, the              said    Baard ~,Y               expend       such funds                   it
                                                                                                                                               as
                                                                                                                                                              may deem

                                               and    may cooperate              with          other
                      necessary,                                                                             governmental          agencies.

                                    The    said       Board        shall       furtY:er           have       and    exercise,          and    is    hereby vested

                      rith, all            the       powers,        duties       ar..
                                                                                   d       functions               in    connection therewith                   ae    fully
                      and      completely             as    it wrould          have, bmd              an     aiz•port      and    such       facilities been


                      expressly            mentioned           and       set    forth in the                  provisions          of Article ~
                                                                                                                                             XV                 of    this


                      charter,            and    included           therein          as    a      part of          the    facilities         of the           port    and


                      harbor,         t11e      Council        hereby finding                     and      determining           the    same    to      be    among       the

                      facilities             and      aids     incidental to                   the      development,             protection          and      operation

                      of      the ..
                                   harbor,            and     to    the    furtherance                  of    commerce,          transportation,                shipping
                      and      navigation, and                 that       sash       powers           are
                                                                                                              necessary and            convenient             to carry

                      out      the    general          purposes           of    such Board.

                                   Section 2.               This     ordinance             shall take effect                     immediately.




FORM ~.   2
Case 3:24-cv-02311-TSH   Document 69-3   Filed 10/30/24   Page 11 of 54
Case 3:24-cv-02311-TSH   Document 69-3   Filed 10/30/24   Page 12 of 54




      EXHIBIT 3
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH     Document 69-3CA Code
                                                     Oakland,   Filed   10/30/24
                                                                    of Ordinances       Page 13 of 54
 ARTICLE VII - PORT OF OAKLAND

       Section 700. Establishment of a Port Department. To promote and more definitely insure the
   comprehensive and adequate development of the Port of Oakland through continuity of control,
   management and operation, there is hereby established a department of the City of Oakland known as the
   "Port Department."

   (Amended by: Stats. November 1988.)

       Section 701. Board of Port Commissioners. The exclusive control and management of the Port
   Department is hereby vested in the Board of Port Commissioners, which shall be composed of seven (7)
   members who shall be appointed by the Council, upon nomination by the Mayor.

      No person shall be appointed as, or continue to hold office as, a member of the Board who is not at the
   time of their appointment, and has not been continuously for thirty (30) days immediately preceding their
   appointment, and who shall not continue to be during their term, a bona fide resident of the City of
   Oakland.

       The members of the Board shall serve without salary or compensation.

   (Amended by: Stats. November 1988 and November 2000.)

   (Res. No. 89280, 6-21-2022)

     Section 702. Organization, Terms of Office. The Board of Port Commissioners shall consist of seven (7)
   members nominated by the Mayor and appointed by the Council for a term of four (4) years. Members in
   office at the time this section takes effect shall continue in office until their successors are appointed and
   qualified. For terms commencing July 10, 1969, two (2) members shall be appointed to fill the positions
   expiring upon that date, and two (2) additional members shall be appointed to bring the membership of
   said Board to seven (7); provided, that the terms of such two additional members shall be for such original
   duration, in no event to exceed four years, as will insofar as practicable permit appointment at the end of
   subsequent terms of office of members, of either one or two members.

   (Amended by: Stats. November 1988.)

       Section 703. Removal. Any member of the Board may be removed from office by the affirmative vote of
   six (6) members of the Council in the same manner and subject to the same conditions as the Council may
   remove the members of any of the Boards provided for in this Charter in Article VI.

   (Amended by: Stats. November 1988.)

       Section 704. Ordinances and Resolutions. All action taken by the Board of Port Commissioners shall be
   by resolution, except as hereinafter set forth in this Article. Any member of the Board may require a record
   of the vote on any resolution to be made in its minutes. The Board shall keep a minute book wherein shall

about:blank                                                                                                         1/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH        Document 69-3CA Code
                                                        Oakland,   Filed   10/30/24
                                                                       of Ordinances      Page 14 of 54
   be recorded the proceedings taken at its meetings and it shall keep a record and index of all of its
   resolutions and ordinances.

       No ordinance or resolution shall be passed or become effective without receiving the affirmative- votes
   of at least four (4) members of the Board. To constitute an ordinance a bill must, before final action thereon,
   be passed to print and published with the ayes and noes at least once in the official newspaper of the City.
   Between the first and final readings at least five (5) days shall elapse. The enacting clause of all ordinances
   passed by the Board shall be substantially in these words:

       Be it ordained by the Board of Port Commissioners of the City of Oakland as follows:

       All ordinances shall be signed by the President or Vice-President of the Board and attested by the
   Secretary.

       A certified copy of each ordinance adopted by the Board shall be forthwith filed with the City Clerk, and
   the City Clerk shall keep a record and index thereof which shall at all times be open to public inspection.

   (Amended by: Stats. November 1988.)

       Section 705. Ordinances Required in Certain Cases. All proceedings for the acquisition of real property
   by purchase, condemnation, or otherwise, or the granting of any lease longer than one (1) year, the fixing,
   regulating, and altering schedules of rates, dockage, wharfage, tolls, and charges for all public-owned docks,
   piers, wharves, slips and other facilities, and for services rendered by the Port Department, and the
   adoption of all general rules and regulations of the Board, excepting administrative regulations of a
   temporary nature, shall be taken by ordinance.

   (Amended by: Stats. November 1988.)

       Section 706. Powers and Duties or the Board. The Board of Port Commissioners shall have the complete
   and exclusive power, and it shall be its duty for and on behalf of the City:

                (1) To sue and defend in the name of the City in all actions and proceedings wherein there is
                    involved any matters within the jurisdiction of the Board.
                (2) To make provisions for the needs of commerce, shipping, and navigation of the port, to
                     promote, develop, construct, reconstruct, alter, repair, maintain, equip and operate all water
                     front properties including piers, wharves, sea walls, docks, basins, channels, slips, landings,
                     warehouses, floating and other plants or works, dredge, and reclaim land, construct, equip
                     and operate terminal trackage with sidings and turnouts and railroad connections between
                     docks, piers and other port structures, and connect the same with mainline tracks, and to
                     establish, equip and operate all other facilities or aids incident to the development, protection
                     and operation of the port, as may be deemed proper and desirable in its judgment, and it
                     may modify its plans from time to time as the requirements of commerce, shipping and
                     navigation may demand, and as part of such development and operation to provide for tugs,
about:blank                                                                                                            2/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH            Document 69-3CA Code
                                                            Oakland,   Filed   10/30/24
                                                                           of Ordinances       Page 15 of 54
    dredges, fireboats, barges, cold storage plants, and all other publicly owned facilities or appliances incident
    to the operation of the port, of such number and character, and in such places as the Board may deem
    feasible and proper.
                  (3) To take charge of, control, and supervise the Port of Oakland, including all the water front
                      properties, and lands adjacent thereto, or under water, structures thereon, and approaches
                        thereto, storage facilities, and other utilities, and all rights and interests belonging thereto,
                        which are now or may hereafter be owned or possessed by the City, including all salt or
                        marsh or tidelands and structures thereon granted to the City in trust by the State of
                        California for the promotion and accommodation of commerce and navigation.
                  (4) To have control and jurisdiction of that part of the City hereinafter defined as the "Port Area"
                      and enforce therein general rules and regulations, to the extent that may be necessary or
                        requisite for port purposes and harbor development, and in carrying out the powers
                        elsewhere vested in the Board.
              Provided, however, that with the approval of the Council the Board may relinquish to the Council
       control of portions of the said area, and likewise, upon request of the Board, the Council may, by
       ordinance, enlarge the Port Area.

                  (5) To require owners of water terminal properties and facilities within the port to keep the same
                      in proper condition and repair and to maintain them with especial reference to the reduction
                        of fire hazard or nuisances, and it shall have the right to inspect such terminal facilities at
                        reasonable times.
                  (6) To exercise all the powers pertaining to the waterfront, wharves, dredging machines, or the
                        port and its operation and maintenance, which have been heretofore conferred upon the City
                        and the Council by Section 106 of this Charter.
                  (7) To regulate the berthing, anchoring, towing, loading, unloading and mooring of vessels within
                        the port.
                  (8) To handle, store and recondition all commodities; to sell or otherwise dispose of personal
                        property within its possession or ownership, and, generally, to perform all services
                        customary, necessary or expedient in connection with the development and operation of the
                        port.
                  (9) To issue receipts, negotiable or otherwise, for property or merchandise in its charge or
                        possession.
                 (10) To fix all rates, dockage, rentals, tolls, wharfage, and charges, for the use and occupation of
                        the public facilities or appliances of the port, and for services rendered by the Port
                        Department, and to provide for the collection thereof.
                 (11)


about:blank                                                                                                                 3/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH         Document 69-3CA Code
                                                         Oakland,   Filed   10/30/24
                                                                        of Ordinances       Page 16 of 54
    To use, for loading and unloading cargo; with the right to collect tolls, dockage and other terminal charges
    thereon, such portions of the streets of the City ending or fronting upon the water areas of the harbor of
    said City, as may be used for said purposes.
               (12) To build piers, wharves, docks, bulkheads, slips or other structures, across and upon such
                    streets, provided only that access be provided to the public at the shoreward end thereof.
               (13) To lend its aid to secure the improvement of navigable tidal waters within or adjacent to the
                     port, where, in its opinion, such improvements are economically justifiable, and in the general
                     carrying out of its powers to cooperate with neighboring cities, other ports, the State of
                     California, or the United States Government, and appear before state, federal and other
                     public legislative and administrative authorities.
               (14) To manage the business of the Port and promote the maritime and commercial interests by
                     proper advertisement of its advantages, and by the solicitation of business, within or without
                     the port, within other states or in foreign countries, through such employees and agencies as
                     it may deem expedient.
               (15) To acquire in the name of the City by purchase, condemnation, gift, lease, or otherwise take
                     over and hold all lands, property, property rights, leases, or easements, and personal
                     property of every kind, necessary or convenient for the development and operation of the
                     port, or for the carrying out of the powers herein granted to the Board. Whenever the Board
                     determines that any lands owned by the City within its jurisdiction have become unnecessary
                     for port purposes or harbor development, it may in its discretion transfer such lands to the
                     control of the Council, free from all restrictions, or it may sell or exchange such lands, by
                     ordinance subject to the referendum provisions of this Charter.
               (16) To purchase materials and supplies.
               (17) To enter into contracts, agreements, or stipulations (other than leases) germane to the scope
                     of its powers and duties.
               (18) To let all work by contract, or order it done by any labor, as the Board may determine.
               (19) To have and exercise the right of eminent domain within the "Port Area" on behalf of and in
                     the name of the City for port purposes, harbor development or the carrying out of any of the
                     powers granted to said Board, and to exclusively find and determine by ordinance adopted by
                     a two-thirds vote of all of its members the public interest and necessity thereof.
               (20) To appoint a Port Attorney, whose duty it shall be to pass upon the form and legality of all
                     contracts within the jurisdiction of the Board, give legal advice to the Board on official
                     matters, defend and (subject to direction from the Board) prosecute or compromise all
                     actions at law or in equity and special proceedings for or against the City or any officers
                     thereof in the Port Attorney's official capacity, pertaining to matters within the jurisdiction of
                     the Board. The Board shall fix and provide for the Port Attorney's compensation.

about:blank                                                                                                               4/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH         Document 69-3CA Code
                                                         Oakland,   Filed   10/30/24
                                                                        of Ordinances       Page 17 of 54
               (21) To employ and appoint an Executive Director, and such other officers, employees and agents
                      as may be necessary in the efficient and economical carrying out of its functions and to
                      prescribe and fix their duties, authority and compensation, and to require such officers,
                      employees and agents to give a bond in such an amount as the Board may require for the
                      faithful discharge of their duties. All offices and places of employment in the permanent
                      service of the Board shall be created by ordinance duly passed.
               (22) To provide and equip offices.
               (23) To provide in the Port Area, subject to the provisions of Section 727, for other commercial
                      development and for residential housing development; provided that any residential housing
                      development shall be approved by the Board with the consent of the City Council.
               (24) To provide for financing of Port facilities through the issuance of bonds or other forms of debt
                      instruments which are secured by a pledge of, or are payable from, all or any part of the
                      revenues of the Port and/or which may be secured in whole or in part by interests, liens or
                      other forms of encumbrance (other than in or on fee title in land) or lease in property. Such
                      debt instruments shall be issued and sold in such manner and upon such terms and
                      conditions, and shall contain such provisions and covenants, as the Board may fix and
                      establish by the provisions of one or more procedural ordinances. Such debt instruments
                      shall not constitute a debt, liability or obligation of the City of Oakland and shall be payable
                      exclusively from revenues and other assets of the Port.
               (25) To provide for the issuance and sale, or to cause the issuance and sale, of any form of equity
                      instruments or securities which represent interests in property (other than fee title and land)
                      used or owned by the Port and which participate in incidents of ownership of such property;
                      provided, that such property shall not include property of the Port which was owned or used
                      by the Port prior to the date of the adoption of this Section. For the purpose of facilitating the
                      issuance and sale of such equity instruments, the Port is authorized to create and to
                      participate in legal entities, including but not limited to, trusts, corporations and partnerships,
                      and to pledge and grant security interests, liens or other forms of encumbrance or lease in
                      such property (other than fee title in land) to secure the repayment of such equity
                      instruments. Such equity instruments, or combinations of debt and equity instruments, shall
                      be issued and sold, and such entities created, in such manner and upon such terms and
                      conditions, as the Board may fix and establish by the provisions of one or more procedural
                      ordinances. Such equity instruments shall not constitute a debt, liability or obligation of the
                      City of Oakland and shall be payable exclusively from revenues, other funds and property of
                      the Port pledged thereto.
               (26) To expend all funds necessary to the carrying out of the powers and duties herein expressed.
               (27)

about:blank                                                                                                                5/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH        Document 69-3CA Code
                                                        Oakland,   Filed   10/30/24
                                                                       of Ordinances       Page 18 of 54
    To adopt and enforce such ordinances, orders, regulations and practices as are necessary for the proper
    administration and discharge of its duties and powers, or for the management and government of the port,
    and its facilities.
               (28) To prescribe fines, forfeitures and penalties for the violation of any provision of this Article, or
                    of any ordinance, but no penalty shall exceed Five Hundred Dollars ($500.00) or six (6) months
                     imprisonment, or both.
               (29) To have and exercise on behalf of the City all the rights, powers and duties in respect to the
                     subject matters herein provided for, that are now or which may hereafter be vested in the
                     City, or any of its departments or officers, or which may be provided for by general law.
               (30) To do and perform any and all other acts and things which may be necessary and proper to
                    carry out the general powers of the City, or any of the provisions of this Article, and to
                     exercise all powers not in conflict with the Constitution of the State, or with this Charter,
                     germane to the scope of its powers, purposes and duties.
   (Amended by: Stats. November 1988.)

   (Res. No. 89280, 6-21-2022)

       Section 707. Operation of Facilities. Notwithstanding any other provision of this Charter to the contrary,
   the Board shall not be required to directly operate all of the properties, facilities and utilities under its
   control or jurisdiction, and shall have the power to authorize the operation of any of such properties,
   facilities and utilities by a private person, firm, association or corporation, whether by lease, franchise,
   license, assignment, permit or otherwise, upon such terms and conditions as the Board shall prescribe,
   which terms and conditions shall include control over the rates, charges and practices of said private party
   to the extent permitted by law.

   (Amended by: Stats. November 1988.)

       Section 708. Building Permits. No person or persons shall construct, extend, alter, improve, erect,
   remodel or repair any pier, slip, basin, wharf, dock or other harbor structure, or any building or structure
   within the "Port Area" without first applying for and securing from the Board a permit so to do, in
   accordance with the rules and regulations adopted by it. In approving or denying the right to said permit,
   the Board shall consider the application therefor, the character, nature and size and location of the
   proposed improvement, and exercise a reasonable and sound discretion in the premises.

       Provided, however, that applications for building permits pertaining to privately owned property within
   the "Port Area" shall be made to the Executive Director who shall consider and act upon them in the same
   manner as applications for such permits made to the Board. Any person excepting to any denial, suspension
   or revocation of a permit applied for or held by them pursuant to the provisions of this section, or any
   person excepting to the granting of, or to the refusal to suspend or revoke a permit applied for or held
   under the provisions of this section, may appeal to the Board by filing with the Secretary a written notice of
about:blank                                                                                                            6/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH      Document 69-3CA Code
                                                      Oakland,   Filed   10/30/24
                                                                     of Ordinances       Page 19 of 54
   such appeal setting forth the specific grounds thereof. Such notice must be filed within fourteen (14) days
   after notice of such denial, suspension, revocation or granting, or refusal to suspend, revoke or grant, such
   permit, constituting the basis of such appeal, but in no event later than thirty (30) days after the date of the
   denial, suspension, revocation or granting of the permit. The Secretary shall forthwith set said matter for
   hearing before the Board and cause notice thereof to be given (1) to the appellant, and (2) to the adverse
   party or parties, or to the attorney, spokesperson or representative thereof, not less than five (5) days prior
   to such hearing. At such hearing the appellant shall show cause, on the grounds specified in the notice of
   appeal, why the action excepted to should not be approved. The Board may continue such hearing from
   time to time, and its findings and conclusions on the appeal shall be final and conclusive in the matter.

      Such permit issued by the Board or the Executive Director shall be in addition to any permit which may
   be required by law from the Building Inspector of the City.

   (Amended by: Stats. November 1988.)

   (Res. No. 89280, 6-21-2022)

       Section 709. Leases. The Board shall have the power to make and enter into any lease of any properties
   belonging to or possessed by the City under its jurisdiction for a term of not to exceed sixty-six (66) years,
   provided that all leases made shall be subject to referendum.

   (Amended by: Stats. November 1988.)

       Section 710. Contracts. All contracts shall be made and entered into in accordance with the conditions
   and procedures established by the Board, but subject to bid limit and race and gender participation
   programs established by the Council pursuant to the provisions of Sections 807 and 808 of this Charter.

   (Amended by: Stats. November 1988, March 1996.)

       Section 711. Supervision of Leases, etc. The Board shall take over and control, and shall have the power
   to grant, all leases, concessions, easements, privileges, spur tracks and other permits, wharfing-out rights,
   and waterfront or other franchises relating to the harbor or port and located within the "Port Area" and
   receive the income therefrom, but this shall not include franchises for the construction and maintenance of
   railroads, power lines, gas mains and other utilities of a general nature which may extend through other
   portions of the City into the Port Area and which are within the jurisdiction of the Council pursuant to the
   provisions of Article X of this Charter, and subject to the supervision of the City Administrator.

      It shall be the duty of the Board to see that all provisions of such leases, concessions, easements,
   privileges, permits, rights or franchises within its jurisdiction are faithfully observed, and it may cause to be
   instituted such actions or proceedings in the name of the City as may be necessary to enforce the provisions
   thereof, or to revoke, cancel, or annul them when they have become forfeitable in whole or in part, or are
   illegal, or void or voidable.

about:blank                                                                                                            7/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH      Document 69-3CA Code
                                                      Oakland,   Filed   10/30/24
                                                                     of Ordinances       Page 20 of 54
   (Amended Stats. November 1988 and March 2004.)

       Section 712. Restrictions of Powers of Council. No franchise shall be granted, no property shall be
   acquired or sold, no street shall be opened, altered, closed or abandoned, and no sewer, street, or other
   public improvement shall be located or constructed in the "Port Area," by the City of Oakland, or the Council
   thereof, without the approval of the Board.

   (Amended by: Stats. November 1988.)

       Section 713. Public Streets. Whenever the Board shall determine that it is necessary to open, close,
   improve, alter or vacate a public street or part of a public street within the "Port Area," a certified copy of
   the resolution so determining such necessity shall be filed by the Board in the Office of the City Clerk, with
   the request that the City Administrator and the Council initiate and carry to completion the proceedings
   necessary to effect said proposal.

   (Amended by: Stats. November 1988 and March 2004.)

       Section 714. Personnel System. All permanent places of employment in and under the Board shall be
   included within the personnel system of the City established pursuant to and subject to the provisions of
   Article IX of this Charter, except the Executive Director and the Executive Director's two principal assistants,
   the Secretary of the Board, the Port Attorney and Legal Assistants, chief wharfinger, field and traffic
   representatives, and all persons employed in the physical or mechanical handling, moving or checking of
   cargo and freight. The exemption of such personnel from the operation of civil service rules shall not in any
   way affect such pre-existing civil service rights as such employee may hold.

   (Amended by: Stats. November 1988.)

   (Res. No. 89280, 6-21-2022)

       Section 715. Annual Budget. The Board shall annually, on or before the fourth Monday of May, or not
   less than one week prior to the submission of the annual appropriation ordinance by the City Administrator,
   should the Council advance the date therefor, but not later than the third Monday of July, carefully prepare
   a budget setting forth the estimated receipts of the Port, and revenue from other sources, for the ensuing
   year, and the sums of money necessarily required for the administration of the department, and for
   maintenance, operation, construction and development of the port and its facilities for the ensuing year,
   and stating the amount necessary to be raised by tax levy for said purposes. Said budget when so prepared,
   shall be certified by the President and Secretary of the Board, and a certified copy thereof shall, on or before
   said date, be filed with the Council, one with the City Administrator, and one with the Auditor.

   (Amended by: Stats. November 1988 and March 2004.)




about:blank                                                                                                           8/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH        Document 69-3CA Code
                                                        Oakland,   Filed   10/30/24
                                                                       of Ordinances         Page 21 of 54
       Section 716. Tax Levy Funds. In the event that said Port budget, as provided for in the foregoing section,
   shall request or provide for the allocation or appropriation to the Port by the Council of any funds raised or
   to be raised by tax levy or in any manner to be obtained from general revenues of the City, or shall request
   the incurring or payment of any financial obligation by the City for the Port's use and benefit, or shall not
   provide for Board servicing of existing or future general obligation bonds of the City issued for Port
   purposes, the Council shall have the authority to reject said budget and to require it to be revised to meet
   with Council approval, subject, however, to the Board's covenants with the holders of all of the then
   outstanding revenue bonds issued by the Board.

       The Treasurer shall keep all Port funds separate from other funds in the Treasurer's possession, and the
   Board shall have the exclusive management and disbursement of the same.

   (Amended by: Stats. November 1988.)

   (Res. No. 89280, 6-21-2022)

               Allocation of Funds.

       Section 717 (1). All Port facilities, airport facilities and terminal facilities of any kind or character are
   hereby consolidated and shall be operated as a single project by the Board in the interest of transportation
   by land, by sea and by air, it being hereby found and determined that transportation facilities of all classes
   implement and augment each other to such an extent that the same must in the public interest be operated
   singly and under one central supervision and control. Wherever in this Charter the terms "port", "project", or
   "facilities" are used, the same shall include all facilities under the jurisdiction of the Board, irrespective of
   whether the same shall be port or airport facilities or other real or personal property or equipment of the
   Port and related improvements, structures or facilities.

   (Amended by: Stats. November 1988.)

      Section 717 (2). All moneys once apportioned or appropriated to the Board, including, without limiting
   the generality of the foregoing, all moneys heretofore apportioned or appropriated to and now under the
   control of the Board, shall be and remain under the control and order of and shall be expended by the
   Board for the purpose for which apportioned or appropriated and shall be kept separate and apart from all
   other moneys of the City or the Board. All surplus moneys which, in the judgement of the Board, are not
   needed for the purpose for which apportioned or appropriated, shall be allocated to and deposited in the
   Revenue Fund provided for in Section 717 (3).

   (Amended by: Stats. November 1988.)

       Section 717 (3). All income and revenue from the operation of the port or from the facilities of the port,
   of whatever kind or nature, and all net income from leases or any other source of income or revenue,
   including, without limiting the generality of the foregoing, all such income and revenue now under the

about:blank                                                                                                            9/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH     Document 69-3CA Code
                                                     Oakland,   Filed   10/30/24
                                                                    of Ordinances      Page 22 of 54
   control of the Board, shall be and remain under the control and order of and shall be expended by the
   Board; provided that all such income and revenue shall be allocated to and deposited in a special fund in
   the City Treasury (which is hereby created) designated "Port Revenue Fund" and shall be kept separate and
   apart from all other moneys of the City or the Board and shall be used and applied for the following
   purposes and in the following order of priority, to wit:

       First: For the payment, as the same become due and payable, of the principal of and interest on any or
   all general obligation bonds of the City of Oakland heretofore and hereafter issued for port purposes, but
   only to the extent required by the Constitution of the State of California or otherwise as determined by
   resolution of the Board.

      Second: For the payment of the principal of and interest on revenue bonds, or other evidences of
   indebtedness payable solely from revenues as in Section 718 provided, which are due or become due during
   the fiscal year in which the revenues in said funds, or either thereof, are received or are to be received,
   together with reserve fund payments, sinking fund payments or similar charges in connection with such
   revenue bonds due or to become due in such fiscal year, including all payments required to be made
   pursuant to the terms of any resolution authorizing the issuance of revenue bonds, or required by the terms
   of the contract created by or upon the issuance of revenue bonds.

     Third: For the payment of all costs of maintenance and operation of the facilities from or on account of
   which such money was received. General costs of administration and overhead of the Board not directly
   chargeable to each facility under its control shall be apportioned fairly by the Board, upon such reasonable
   basis as it may determine, to each such facility.

       Fourth: For defraying the expenses of any pension or retirement system applicable to the employees of
   the Board.

       Fifth: For necessary additions, betterments, improvements, repairs or enlargements of any facilities, and,
   to the extent determined by a resolution or resolutions of the Board, for replacements, renewals or
   reconstruction of any facilities.

       Sixth: For establishing and maintaining reserve or other funds to insure the payment on or before
   maturity of any or all general obligation bonds of the City now outstanding or hereafter issued for any
   facility under the control of the Board, but only to the extent required by the Constitution of the State of
   California or otherwise as determined by resolution of the Board.

       Seventh: For establishing and maintaining reserve or other funds to insure the payment on or before
   maturity of any or all revenue bonds of the Board hereafter issued.

       Eighth: For establishing and maintaining such other reserve funds pertaining to the facilities of the Board
   as shall be determined by a resolution or resolutions of the Board.



about:blank                                                                                                       10/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH      Document 69-3CA Code
                                                      Oakland,   Filed   10/30/24
                                                                     of Ordinances     Page 23 of 54
       Ninth: For transfer to the General Fund of the City, to the extent that the Board shall determine that
   surplus moneys exist in such fund which are not then needed for any of the purposes above stated.

   (Amended by: Stats. November 1988.)

               Financing of Harbor and Airport Operations.

       Section 718 (1). General Obligation Bonds of the City. The City of Oakland may from time to time incur
   general obligation bonded indebtedness in the manner provided by law for the acquisition, construction or
   completion of any port facilities or improvements of the Port of Oakland, including land, rights of way and
   air easements. The proceeds from the sale of any general obligation bonds now authorized, or which may
   hereafter be authorized, for any such purposes, shall be under the control of, and shall be expended by, the
   Board for the objects and purposes for which such general obligation bonded indebtedness was incurred.
   Whenever, in the opinion of the Board, it is desirable for the City of Oakland to incur additional general
   obligation bonded indebtedness for any project within the jurisdiction or control of the Board, the Board
   shall prepare tentative plans, estimates and bond retirement schedules and submit its recommendations in
   writing to the City Council, which shall thereupon take such action as it deems advisable to reject or carry
   out such recommendations.

   (Amended by: Stats. November 1988.)

     Section 718 (2). Methods of Financing Not Exclusive. Nothing in this Section 718 contained shall in any
   way abridge, control, limit, restrict or revoke the power of the electors of the City of Oakland to vote for and
   cause to be authorized and issued general obligation bonds of the City of Oakland for the acquisition,
   construction or completion of any project herein defined, or any additions thereto or betterments or
   improvements thereof, irrespective of whether or not revenue bonds for such purpose have been, or may
   thereafter be issued hereunder, and nothing herein contained shall prevent the financing of any project or
   any additions, betterments or improvements thereof from any other funds which may be legally available
   for that purpose. Revenue bonds authorized to be issued hereunder shall not be subject to charter
   limitations as to the amount of general obligation bonded indebtedness of the City of Oakland nor be taken
   into consideration in determining the amount of general obligation bonded indebtedness which the City of
   Oakland is authorized to incur, and the issuance of revenue bonds as in this Article VII provided shall be
   deemed to constitute a supplemental and additional method of providing funds for the financing of harbor,
   airport or other real or personal property or equipment of the Port and related improvements, structures or
   facilities. Such revenue bonds shall be issued in the name of the Board of Port Commissioners of the City of
   Oakland and shall constitute obligations only of the Board, payable in accordance with their terms from
   revenues of any project, as in this Article VII authorized.

   (Amended by: Stats. November 1988.)



about:blank                                                                                                       11/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH        Document 69-3CA Code
                                                        Oakland,   Filed   10/30/24
                                                                       of Ordinances     Page 24 of 54
       Section 718 (3). Rates, Tolls and Charges. Without limiting any power in this Charter conferred upon the
   Board, the Board has power for any of the purposes of this Section 718 to fix rates, tolls, fees, rentals or
   charges for the use of the facilities provided by any project, or for any services rendered in connection
   therewith, and to alter, change or modify the same at its pleasure, subject to any contractual obligation
   which may be entered into by the Board with respect to the fixing of such rates, tolls, fees, rentals or other
   charges; and, by a resolution of issue or otherwise, to enter into covenants to increase rates, tolls, fees,
   rentals or other charges from time to time; provided, however, that any person shall be permitted to use or
   operate any facilities provided by any project only upon payment of the regularly established charge
   therefor, except as may be otherwise specifically provided in a resolution of issue. All rates, fees, rentals and
   other charges shall be paid only in such coin or currency as on the date of payment is legal tender for public
   and private debts.

   (Amended by: Stats. November 1988.)

       Section 718 (4). Authorization of Revenue Bonds. Each issue of revenue bonds shall be authorized by
   the Board by a resolution of issue adopted by the affirmative votes of at least five (5) members of the Board
   at a duly assembled meeting. Each resolution of issue shall prescribe the purpose or purposes for which,
   and the terms and conditions on which, said revenue bonds are to be issued.

   (Amended by Stats. November 1988.)

       Section 718 (5). Validity of Revenue Bonds Not Affected by Actions of City or Boards Relative to
   Project.

                (a) The validity of the authorization and issuance of any revenue bonds by the Board shall not be
                     dependent on or affected in any way by:
                      (i) Proceedings taken by the City or the Board for the acquisition, construction or completion
                         of any project or any part thereof;
                     (ii) Any contracts made in connection with the acquisition, construction, or completion of any
                         project; or
                     (iii) The failure to complete any project for which bonds are authorized to be issued.
   (Amended by: Stats. November 1988.)

       Section 718 (6). Rights of Bondholders. Except as provided otherwise in any resolution of issue, the
   holder of any bond issued pursuant to this Section 718 may, by mandamus or other appropriate
   proceedings, require and compel the performance of any of the duties imposed upon the Board or the City
   or the Council or any official or employee of the Board or the City or assumed by any thereof in connection
   with the acquisition, construction, completion, operation, maintenance, repair, reconstruction or insurance
   of any project, or the collection, deposit, investment, application and disbursement of rates, fees and
   charges derived from the operation and use of any project and all other revenues, or in connection with the

about:blank                                                                                                         12/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH     Document 69-3CA Code
                                                     Oakland,   Filed   10/30/24
                                                                    of Ordinances     Page 25 of 54
   deposit, investment or disbursement of the proceeds received from the sale of the bonds under this
   Section. The enumeration of such rights and remedies does not, however, exclude the exercise or
   prosecution of any other rights or remedies available to the holders of bonds issued pursuant to this
   Section 718.

   (Amended by: Stats. November 1988.)

       Section 718 (7). Section Confers Complete Authority. The provisions of this Section constitute full and
   complete authority for the issuance of revenue bonds as herein provided by the Board and no other
   procedure, or proceedings, consents, approvals, orders or permission from the Council or any municipal
   officer or board of the City of Oakland, shall be required for the acquisition, construction or completion of
   any project, or the issuance of any revenue bonds under this Section 718 except as specifically provided in
   this Section 718. The powers and authorities conferred by this Section are in addition to and supplemental
   to all other powers and authorities conferred upon the Board.

   (Amended by: Stats. November 1988.)

       Section 719. Moneys on Hand. All moneys in the Harbor Maintenance and Improvement Fund at the
   time of the adoption of this Charter and all other revenues and funds in the possession of the City set aside
   for port purposes, shall immediately be under the jurisdiction and control of the Board.

   (Amended by: Stats. November 1988.)

       Section 720. Duties of Treasurer. All moneys under the control of the Board shall be immediately paid
   over to the Treasurer of the City of Oakland, who shall have the care and custody of said funds, and shall
   keep separate accounts thereof, and pay out the same, as provided in this Charter.

   (Amended by: Stats. November 1988.)

       Section 721. Revolving Fund. The Board shall have authority to set up by ordinance a sufficient
   contingent or revolving fund from which the Executive Director shall be entitled to draw warrants directly
   upon the Treasurer for the prompt payment of transient laborers, and the Treasurer shall upon
   presentation of same, pay such warrants. Statements of such payments shall be filed with the Board at its
   regular meetings and shall be approved by the Board and endorsed by the President and Secretary thereof,
   and audited as in the case of ordinary claims.

   (Amended by: Stats. November 1988.)

      Section 722. Additional Powers. The City Council, subject to the approval of the Board, may by ordinance
   confer upon and delegate to the Board, from time to time, such additional powers and duties which may be
   vested in it, and which it may deem necessary or convenient to carry out the general purposes of such
   Board.

   (Amended by: Stats. November 1988.)
about:blank                                                                                                        13/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH       Document 69-3CA Code
                                                       Oakland,   Filed   10/30/24
                                                                      of Ordinances     Page 26 of 54
       Section 723. Liberal Construction. If any section, clause, word, or provision of this Article shall be held
   unconstitutional, the other sections, clauses, words, or provisions of this Article shall not be affected
   thereby. All the provisions of this Article shall be liberally construed.

   (Amended by: Stats. November 1988.)

       Section 724. The provisions of this Article shall supersede and control all other provisions of the Charter
   in conflict therewith. To all other extent, the powers, duties, and functions heretofore vested in the Council,
   or any of the officials, boards, or departments of the City, shall be unimpaired.

   (Amended by: Stats. November 1988.)

       Section 725. Port Area. The "Port Area" under the exclusive jurisdiction of the Board of Port
   Commissioners shall be the same area that existed immediately prior to the adoption of this Section, as it
   has been defined by Charter and by ordinance, and as it may hereafter be altered by Council ordinance in
   accordance with and upon the recommendation of the Board, or by amendment of this Charter.

   (Amended by: Stats. November 1988.)

       Section 726. Without denial or disparagement of other powers now held by or that may hereafter be
   given to the City of Oakland or its legislative bodies under or by the Constitution or the laws of the State of
   California, the City Council and Board of Port Commissioners are hereby authorized and empowered to
   grant and convey all or any portion of or interest in the tidelands and submerged lands located in the
   Middle Harbor area of the City, lying between the Estuary of San Antonio and Seventh Street, and westward
   of Bay Street extended southerly, to the United States of America for public and governmental (including
   military or naval) purposes, subject to such terms, conditions, and reservations, if any, as the Council and
   Board shall deem proper. No ordinance or other measure passed in respect to any such grant shall be
   subject to the referendum provisions of this Charter. All proceedings heretofore taken to accomplish such a
   grant are hereby ratified, confirmed and approved, and the completion thereof and making of such grant is
   hereby authorized.

   (Amended by: Stats. November 1988.)

       Section 727. Land Use and Development. The Board shall develop and use property within the Port Area
   for any purpose in conformity with the General Plan of the City. Any variation therefrom shall have the
   concurrence of the appropriate City board or commission; provided, that the Board may appeal to the
   Council for final determination of adverse decisions of such board or commission, in accordance with
   uniform procedures established by the Council.

   (Amended by: Stats. November 1988.)

       Section 728. Living Wage and Labor Standards at Port-Assisted Businesses.

                (1)
about:blank                                                                                                          14/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH         Document 69-3CA Code
                                                         Oakland,   Filed   10/30/24
                                                                        of Ordinances       Page 27 of 54
    Scope and Definitions. The following definitions shall apply throughout this Section:
                     (A) "Port" means the Port of Oakland.
                     (B) "Port-Assisted Business" or "PAB" means (1) any person involved in a Port Aviation or Port
                          Maritime Business receiving in excess of $50,000 worth of financial assistance from the
                          Port, or (2) any Port Contractor involved in a Port Aviation or Port Maritime Business if the
                          person employs more than 20 persons per pay period, unless in the prior 12 pay periods
                          the person has not had more than 20 such employees and will not have more than 20
                          persons in the next 12 pay periods. A PAB shall be deemed to employ more than 20
                          persons if it is part of an 'enterprise' as defined under the Fair Labor Standards Act
                          employing more than 20 persons. "Port Contractor" means any person party to a Port
                          Contract as herein defined.
                     (C) "Port Contract" means:
                  (1) Any service contract with the Port for work to be performed at the Port under which the Port
                      is expected to pay more than $50,000 over the term of the contract;
                  (2) Any contract, lease or license from the Port involving payments to the Port expected to
                      exceed $50,000 either (a) over the term of the contract, lease or license, or (b) during the next
                      5 years if the current term is less than 1 year but may be renewed or extended, either with or
                      without amendment;
                  (3) Any subcontract, sublease, sublicense, management agreement or other transfer or
                      assignment of any right, title or interest received from the Port pursuant to any of the
                      foregoing contracts, leases or licenses.
              A contract, lease or license with the Port or any agreement derived therefrom shall not be deemed a
       Port Contract unless entered into after enactment of this Section, or amended after enactment of this
       Section to benefit in any way the party dealing with the Port.

                     (D) "Employee" means any individual employed by a PAB in Port related employment.
                      (E) "Person" includes any natural person, corporation, partnership, limited liability company,
                          joint venture, sole proprietorship, association, trust or any other entity.
                      (F) "Valid collective bargaining agreement" as used herein means a collective bargaining
                          agreement entered into between the person and a labor organization lawfully serving as
                          the exclusive collective bargaining representative for such person's employees.
                     (G) "Port Aviation or Port Maritime business" means any business that principally provides
                          services related to maritime or aviation business related services or whose business is
                          located in the maritime or aviation division areas as defined by the Port.
                  (2) Exemptions from Coverage. In addition to the above exemption for workforces of fewer than
                      20 workers, the following persons shall also be exempt from coverage under this Section:

about:blank                                                                                                           15/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH          Document 69-3CA Code
                                                          Oakland,   Filed   10/30/24
                                                                         of Ordinances       Page 28 of 54
                     (A) An Employee who is (1) under twenty-one (21) years of age and (2) employed by a
                           nonprofit entity for after-school or summer employment or for training for a period not
                           longer than ninety (90) days, shall be exempt.
                     (B) An Employee who spends less than 25 percent of their work time on Port-related
                         employment.
                     (C) A person who employs not more than 20 employees per pay period.
                (3) Payment of Minimum Compensation to Employees. Port-Assisted Businesses shall provide
                     compensation to each Employee of at least the following:
                     (A) Minimum Compensation. The minimum compensation shall be wages and health benefits
                           totaling at least the rate of the living wage ordinance of the City of Oakland.
                     (B) Credit for Health Benefits. The PAB shall receive a credit against the minimum wage
                           required by this Section for health benefits in the amount provided by and in accordance
                           with the living wage ordinance of the City of Oakland.
                (4) Notifying Employees of their Potential Right to the Federal Earned Income Credit. Each PAB
                     shall inform each Employee who makes less than twelve dollars ($12.00) per hour of the
                     Employee's possible right to the Federal Earned Income Credit ("EIC") under Section 2 of the
                     Internal Revenue Code of 1954, 26 U.S.C. § 32, and shall make available the forms required to
                     secure advance EIC payments from the business. These forms shall be provided to the eligible
                     Employees in English (and other languages spoken by a significant number of such
                     Employees) within thirty (30) days of employment under this Section and as required by the
                     Internal Revenue Code.
                (5) Preventing Displacement of Workers. Each PAB, which is to replace a prior PAB shall offer
                     employment to the Service Employees of the prior PAB, if, these Employees worked for the
                     prior PAB for at least 90 calendar days. Such Employees may be not be terminated by the new
                     PAB during the first 90 workdays except for just cause. The new PAB may operate at lower
                     staffing levels than its predecessor but in such event, shall place the prior Employees on a
                     preferential reinstatement list based on seniority. For purposes of this Section, a PAB
                     "replaces" another if it (1) assumes all or part of the lease, contract or subcontract of a prior
                     employer or obtains a new lease, contract, or sublease, and (2) offers employment which
                     Employees of the prior PAB can perform. In the case of a replacement connected to the new
                     PAB relocating from another location, in staffing decisions the new PAB may recognize
                     seniority from its prior locations in addition to the seniority of the prior PAB's workforce.
                     "Service Employees" means all employees except manager, supervisors, professionals,
                     paraprofessionals, confidential and office employees.
                (6) Waiver.
                     (A)

about:blank                                                                                                              16/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH           Document 69-3CA Code
                                                           Oakland,   Filed   10/30/24
                                                                          of Ordinances      Page 29 of 54
    A PAB who contends it is unable to pay all or part of the living wage must provide a detailed explanation in
    writing to the Port Executive Director who may recommend a waver to the Port board. The explanation
    must set for the reasons for its inability to comply, including a complete cost accounting for the proposed
    work to be performed with the financial assistance sought, including wages and benefits to be paid all
    employees, as well as an itemization of the wage and benefits paid to the five highest paid individuals
    employed by the PAB. The PAB must also demonstrate that the waiver will further the public interests in
    creating training positions which will enable employees to advance into permanent living wage jobs or
    better and will not be used to replace or displace existing positions or employees or to lower the wages of
    current employees.
                     (B) The Port Board will grant a waiver only upon a finding and determination that the PAB has
                         demonstrated the necessary economic hardship and that waiver will further the public
                           interests in providing training positions which will enable employees to advance into
                           permanent living wage jobs or better. However, no waiver will be granted if the effect of
                           the waiver is to replace or displace existing positions or employees or to lower the wages
                           of current employees.
                     (C) Such waivers are disfavored, and will be granted only where the balance of competing
                           interests weighs clearly in favor of granting the waiver. If waivers are to be granted, partial
                           waivers are favored over blanket waivers. Moreover, any waiver shall be granted for no
                           more than one year. At the end of the year the PAB may reapply for a new waiver which
                           may be granted subject to the same criteria for granting the initial waiver.
                     (D) Any party who objects to the grant of a waiver by the Port Board may appeal such
                           decision to the City/Port Liaison Committee, who may reject such waiver.
                (7) Retaliation and Discrimination Barred, No Waiver of Rights.
                     (A) A PAB shall not discharge, reduce the compensation of or otherwise discriminate against
                           any person for making a complaint to the Port, participating in any of its proceedings,
                           using any civil remedies to enforce such person's rights, or otherwise asserting such
                           person's rights under this Section.
                     (B) Any waiver by an individual of any of the provisions of this Section shall be deemed
                           contrary to public policy and shall be void and unenforceable, except that Employees shall
                           not be barred from entering into a written valid collective bargaining agreement waiving a
                           provision of this Section if such waiver is set forth in clear and unambiguous terms. Any
                           request to an individual by a PAB to waive the individual's rights under this Section shall
                           constitute a violation of this Section.
                (8) Enforcement.
                     (A)


about:blank                                                                                                              17/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH         Document 69-3CA Code
                                                         Oakland,   Filed   10/30/24
                                                                        of Ordinances      Page 30 of 54
    Each PAB shall maintain for each person in Port-related employment a record of the person's name, pay
    rate and, if the PAB claims credit for health benefits, the sums paid by the PAB for the Employee's health
    benefits. The PAB shall submit a copy of such records to the Port at least by March 31st, June 30th,
    September 30th and December 31st of each year, unless the PAB has employed less than 20 persons
    during the preceding quarter in which case the PAB need only submit a copy of such records every
    December 31st. Failure to provide a copy of such records within five days of the due date will result in a
    penalty of five hundred dollars ($500.00) per day. Each PAB shall maintain a record of the name, address,
    job classification, hours worked, and pay and health benefits received of each person employed, and shall
    preserve them for at least three years.
                     (B) If a PAB provides health benefits to persons in Port-related employment but does not pay
                         for them on a per-hour basis, then upon the PAB's request, the amount of the hourly
                         credit against its wage obligation shall be the Port's reasonable estimate of the PAB's
                         average hourly cost to provide health benefits to its Employees in Port-related
                         employment. The PAB shall support its request with such documentation as is reasonably
                         requested by the Port or any interested party, including labor organizations in such
                         industry.
                     (C) Each PAB shall give written notification to each current Employee, and to each new
                         Employee at time of hire, of their rights under this Section. The notification shall be in the
                         form provided by the Port in English, Spanish and other languages spoken by a significant
                         number of the Employees, and shall also be posted prominently in areas at the work site
                         where it will be seen by all Employees.
                     (D) Each PAB shall permit access to work sites and relevant payroll records for authorized
                         Port representatives for the purpose of monitoring compliance with this Section,
                         investigating employee complaints of noncompliance and evaluating the operation and
                         effects of this Section, including the production for inspection and copying of its payroll
                         records for any or all persons employed by the PAB. Each PAB shall permit a
                         representative of the labor organizations in its industry to have access to its workforce at
                         the Port during non-working time and in non-work areas for the purpose of ensuring
                         compliance with this Section.
                     (E) Notwithstanding any provision in Article VI of this Charter to the contrary, the City
                         Administrator may develop rules and regulations for the Port's activities in (1) Port review
                         of contract documents to ensure that relevant language and information are included in
                         the Port's RFP's, agreements and other relevant documents, (2) Port monitoring of the
                         operations of the contractors, subcontractors and financial assistance recipients to insure
                         compliance including the review, investigation and resolution of specific concerns or
                         complaints about the employment practices of a PAB relative to this section, and (3)
                         provision by the Port of notice and hearing as to alleged violations of this section.
about:blank                                                                                                             18/19
10/6/24, 10:57 PM   Case 3:24-cv-02311-TSH         Document 69-3CA Code
                                                         Oakland,   Filed   10/30/24
                                                                        of Ordinances        Page 31 of 54
                (9) Private Rights of Action.
                     (A) Any person claiming a violation of this Section may bring an action against the PAB in the
                         Municipal Court or Superior Court of the State of California, as appropriate, to enforce the
                         provisions of this Section and shall be entitled to all remedies available to remedy any
                         violation of this Section, including but not limited to back pay, reinstatement or injunctive
                         relief. Violations of this Section are declared to irreparably harm the public and covered
                         employees generally.
                     (B) Any employee proving a violation of this Section shall recover from the PAB treble their
                         lost normal daily compensation and fringe benefits, together with interest thereon, and
                         any consequential damages suffered by the employee.
                     (C) The Court shall award reasonable attorney's fees, witness fees and costs to any plaintiff
                         who prevails in an action to enforce this Section.
                     (D) No criminal penalties shall attach for any violation of this Section, nor shall this Section
                         give rise to any cause of action for damages against the Port or the City.
                     (E) No remedy set forth in this Section is intended to be exclusive or a prerequisite for
                         asserting a claim for relief to enforce any rights hereunder in a court of law. This Section
                         shall not be construed to limit an employee's right to bring a common law cause of action
                         for wrongful termination.
               (10) Severability. If any provision or application of this Section is declared illegal, invalid or
                     inoperative, in whole or in part, by any court of competent jurisdiction, the remaining
                     provisions and portions thereof and applications not declared illegal, invalid or inoperative
                     shall remain in full force or effect. The courts are hereby authorized to reform the provisions
                     of this Section in order to preserve the maximum permissible effect of each subsection
                     herein. Nothing herein may be construed to impair any contractual obligations of the Port.
                     This Section shall not be applied to the extent it will cause the loss of any federal or state
                     funding of Port activities.
   (Amended by: Stats. March 2002 and March 2004)

   (Res. No. 89280, 6-21-2022)




about:blank                                                                                                             19/19
Case 3:24-cv-02311-TSH   Document 69-3   Filed 10/30/24   Page 32 of 54




      EXHIBIT 4
Case 3:24-cv-02311-TSH   Document 69-3   Filed 10/30/24   Page 33 of 54
Case 3:24-cv-02311-TSH   Document 69-3   Filed 10/30/24   Page 34 of 54
Case 3:24-cv-02311-TSH   Document 69-3   Filed 10/30/24   Page 35 of 54




      EXHIBIT 5
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                  Document
                                                                         69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                               Page1 of
                                                                                                     3619
                                                                                                        of 54




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    DERRON THIBODEAUX,                                  Case No. 18-cv-03353-KAW
                                   8                   Plaintiff,
                                                                                            ORDER GRANTING IN PART AND
                                   9            v.                                          DENYING IN PART MOTION TO
                                                                                            DISMISS
                                  10    PORT OF OAKLAND,
                                                                                            Re: Dkt. No. 8
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          On June 7, 2018, Plaintiff Derron Thibodeaux filed the instant case against Defendant Port

                                  14   of Oakland, asserting violations of the Clean Water Act ("CWA"). (Compl. ¶ 1, Dkt. No. 1.)

                                  15   Defendant now moves to dismiss the case. (Def.'s Mot. to Dismiss, Dkt. No. 8.) Having

                                  16   considered the papers filed by the parties, the relevant legal authority, and the arguments advanced

                                  17   by counsel at the September 20, 2018 hearing, the Court GRANTS IN PART AND DENIES IN

                                  18   PART Defendant's motion to dismiss.

                                  19                                           I.   BACKGROUND

                                  20          On September 26, 2016, Plaintiff sent Defendant a "Notice of Violations and Intent to File

                                  21   Suit Under the Clean Water Act." (Blanchard Decl., Exh. A ("9/26/2016 Notice"), Dkt. No. 8-2.)

                                  22   On October 4, 2016, Defendant requested to meet with Plaintiff, seeking additional information on

                                  23   the CWA allegations. (Blanchard Decl. ¶ 4.) On March 22, 2017, Plaintiff sent Defendant an

                                  24   "AMENDED Notice of Violations and Intent to File Suit Under the Clean Water Act." (Blanchard

                                  25   Decl., Exh. D ("3/22/2017 Notice").)

                                  26          The Amended Notice first provides a general overview of the CWA. (3/22/2017 Notice at

                                  27   1-2.) Next, the Amended Notice states that sewage transmission pipes servicing Buildings 803

                                  28   and 804 and running adjacent to 19th Street "have a chronic history of inflow and infiltration . . .
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                  Document
                                                                         69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                               Page2 of
                                                                                                     3719
                                                                                                        of 54




                                   1   as well as cracks in the piping in the system [that] releas[e] raw and untreated sewage underground

                                   2   into the soil, thereby releasing untreated wastewater and raw sewage into the ground water and

                                   3   San Francisco Bay." (Id. at 2.)

                                   4          The Amended Notice then describes "107,500 linear feet of storm drains and 25,000 feet of

                                   5   sanitary sewers within the 366 acre OGDA property," which Plaintiff asserts has been shown by

                                   6   several studies to be in poor condition and to have defects. (3/22/2017 Notice at 2.) Defects are

                                   7   defined as pipes with sags, plant root intrusion, cracked sections, holes or collapses, joints that

                                   8   have been separated or become misaligned, or blockages caused by sediment accumulation. The

                                   9   poor condition of the drains has resulted in contaminated sediment within the pipes and catch

                                  10   basins, as well as contaminated soil and groundwater adjacent to portions of the defective pipes.

                                  11   (Id.) Of concern are chemicals including petroleum hydrocarbons, polycyclic aromatic

                                  12   hydrocarbons, lead and other heavy metals, polychlorinated biphenyls, pesticides, and raw sewage.
Northern District of California
 United States District Court




                                  13   The Amended Notice asserts that materials from the contaminated soil and sanitary sewers are

                                  14   leaking into the storm drains that empty into the Bay.

                                  15          Additionally, the Amended Notice discusses Defendant's "history of major discharges from

                                  16   the facility's collection system, caused by ruptured pipelines due to inflow and infiltration during

                                  17   periods of heavy rainfall and because the [Defendant']s freshwater delivery lines also leak causing

                                  18   a back of head pressure which in turn, forces the leaked raw effluent into Bay waters." (3/22/2017

                                  19   Notice at 2.) The Amended Notice explains that these discharges of raw sewage and treated

                                  20   effluent violate the CWA because the discharge is occurring without a National Pollution

                                  21   Discharge Elimination System ("NPDES") permit. (Id. at 2-3.)

                                  22          Finally, the Amended Notice notes that the "sewage collection lines are over 100 years old

                                  23   and in need of immediate replacement," and that Defendant and the City of Oakland are under a

                                  24   Clean Up and Abatement Order issued by the Regional Water Quality Control Board ("RWQCB")

                                  25   concerning the former Oakland Army Base, Order No. R2-2004-0086. (3/22/2017 Notice at 3.)

                                  26          Based on the Amended Notice, Plaintiff filed the instant action against Defendant.

                                  27   (Compl. ¶ 2.) In his complaint, Plaintiff describes Defendant as "an industrial facility hosting an

                                  28   industrial railway storage yard, hog export terminal, asphalt recycling, fumigation services, truck
                                                                                          2
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                  Document
                                                                         69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                               Page3 of
                                                                                                     3819
                                                                                                        of 54




                                   1   repair, truck operations, and multiple industrial warehouse rentals totaling 283,896 square feet1

                                   2   (hereinafter the 'Facility')." (Compl. ¶ 30.) The complaint then restates the assertions of the

                                   3   Amended Notice. (Compl. ¶¶ 31-35.) Based on these allegations, Plaintiff brings four causes of

                                   4   action: (1) discharge of pollutants without a NPDES permit, (2) discharges of contaminated storm

                                   5   water in violation of permit conditions and the CWA, (3) failure to develop and implement an

                                   6   adequate Storm Water Pollution Prevention Plan ("SWPPP") and best available and best

                                   7   conventional control technologies, and (4) failure to develop and implement an adequate

                                   8   monitoring and reporting program. (Compl. at 9-12.)

                                   9            On August 9, 2018, Defendant filed the instant motion to dismiss, asserting that dismissal

                                  10   was warranted because: (1) the Court lacked jurisdiction over the case because Plaintiff's notice

                                  11   was defective, (2) Plaintiff failed to state a claim, (3) certain claims were moot, (4) Plaintiff did

                                  12   not adequately plead standing, and (5) Plaintiff failed to name indispensable parties. (Def.'s Mot.
Northern District of California
 United States District Court




                                  13   to Dismiss at 2.) Defendant also filed a request for judicial notice. (Def.'s RJN, Dkt. No. 8-1.)

                                  14   On August 23, 2018, Plaintiff filed his opposition, as well as a request for a judicial notice. (Plf.'s

                                  15   Opp'n, Dkt. No. 16; Plf.'s RJN, Dkt. Nos. 17-18.) On August 30, 2018, Defendant filed its reply,

                                  16   along with a supplemental request for judicial notice. (Def.'s Reply, Dkt. No. 20; Def.'s Supp.

                                  17   RJN, Dkt. No. 20-1.)

                                  18                                         II.   LEGAL STANDARD

                                  19            A.    Request for Judicial Notice

                                  20            A district court may take judicial notice of facts not subject to reasonable dispute that are

                                  21   "capable of accurate and ready determination by resort to sources whose accuracy cannot

                                  22   reasonably be questioned." Fed. R. Evid. 201(b); United States v. Bernal-Obeso, 989 F.2d 331,

                                  23   333 (9th Cir. 1993). A court may, therefore, take judicial notice of matters of public record.

                                  24   United States v. Wilson, 631 F.2d 118, 119 (9th Cir. 1980).

                                  25            B.    Rule 12(b)(1) Motion to Dismiss

                                  26            A defendant may move to dismiss an action for lack of subject matter jurisdiction pursuant

                                  27

                                  28   1
                                           Approximately 6.5 acres.
                                                                                           3
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                  Document
                                                                         69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                               Page4 of
                                                                                                     3919
                                                                                                        of 54




                                   1   to Federal Rule of Civil Procedure 12(b)(1). A Rule 12(b)(1) motion tests whether a complaint

                                   2   alleges grounds for federal subject matter jurisdiction. A motion to dismiss for lack of subject

                                   3   matter jurisdiction will be granted if the complaint on its face fails to allege facts sufficient to

                                   4   establish subject matter jurisdiction. See Savage v. Glendale Union High Sch., 343 F.3d 1036,

                                   5   1039 n.2 (9th Cir. 2003). In considering a Rule 12(b)(1) motion, the Court "is not restricted to the

                                   6   face of the pleadings, but may review any evidence, such as affidavits and testimony, to resolve

                                   7   factual disputes concerning the existence of jurisdiction." McCarthy v. United States, 850 F.2d

                                   8   558, 560 (9th Cir. 1988). Once a party has moved to dismiss for lack of subject matter jurisdiction

                                   9   under Rule 12(b)(1), the opposing party bears the burden of establishing the court’s jurisdiction.

                                  10   See Chandler v. State Farm Mut. Auto. Ins. Co., 598 F.3d 1115, 1122 (9th Cir. 2010).

                                  11          C.     Rule 12(b)(6) Motion to Dismiss

                                  12           Under Federal Rule of Civil Procedure 12(b)(6), a party may file a motion to dismiss based
Northern District of California
 United States District Court




                                  13   on the failure to state a claim upon which relief may be granted. A motion to dismiss under Rule

                                  14   12(b)(6) tests the legal sufficiency of the claims asserted in the complaint. Navarro v. Block, 250

                                  15   F.3d 729, 732 (9th Cir. 2001).

                                  16           In considering such a motion, a court must "accept as true all of the factual allegations

                                  17   contained in the complaint," Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam) (citation

                                  18   omitted), and may dismiss the case or a claim "only where there is no cognizable legal theory" or

                                  19   there is an absence of "sufficient factual matter to state a facially plausible claim to relief."

                                  20   Shroyer v. New Cingular Wireless Servs., Inc., 622 F.3d 1035, 1041 (9th Cir. 2010) (citing

                                  21   Ashcroft v. Iqbal, 556 U.S. 662, 677-78 (2009); Navarro, 250 F.3d at 732) (internal quotation

                                  22   marks omitted).

                                  23           A claim is plausible on its face when a plaintiff "pleads factual content that allows the

                                  24   court to draw the reasonable inference that the defendant is liable for the misconduct alleged."

                                  25   Iqbal, 556 U.S. at 678 (citation omitted). In other words, the facts alleged must demonstrate

                                  26   "more than labels and conclusions, and a formulaic recitation of the elements of a cause of action

                                  27   will not do." Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

                                  28           "Threadbare recitals of the elements of a cause of action" and "conclusory statements" are
                                                                                           4
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                  Document
                                                                         69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                               Page5 of
                                                                                                     4019
                                                                                                        of 54




                                   1   inadequate. Iqbal, 556 U.S. at 678; see also Epstein v. Wash. Energy Co., 83 F.3d 1136, 1140 (9th

                                   2   Cir. 1996) ("[C]onclusory allegations of law and unwarranted inferences are insufficient to defeat

                                   3   a motion to dismiss for failure to state a claim."). "The plausibility standard is not akin to a

                                   4   probability requirement, but it asks for more than a sheer possibility that a defendant has acted

                                   5   unlawfully . . . When a complaint pleads facts that are merely consistent with a defendant's

                                   6   liability, it stops short of the line between possibility and plausibility of entitlement to relief."

                                   7   Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557) (internal citations omitted).

                                   8           Generally, if the court grants a motion to dismiss, it should grant leave to amend even if no

                                   9   request to amend is made "unless it determines that the pleading could not possibly be cured by

                                  10   the allegation of other facts." Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (citations

                                  11   omitted).

                                  12                                            III.    DISCUSSION
Northern District of California
 United States District Court




                                  13          A.       Request for Judicial Notice

                                  14           Defendant and Plaintiff each requests that the Court take judicial notice of various

                                  15   documents created by and available from public agencies. 2 Neither party challenges the requests

                                  16   for judicial notice, except that Plaintiff challenges to what extent the Connection Agreement

                                  17   submitted as Exhibit 15 covers the claims at issue. (Plf.'s Opp'n at 1.) Less than a week before the

                                  18   hearing, Plaintiff also filed an objection to Defendant's supplemental request for judicial notice.

                                  19   (Dkt. No. 21.) The objection was, however, focused solely on the introduction of "new evidence"

                                  20   with the reply brief, but did not assert that the materials at issue were not judicially noticeable.

                                  21   (Id. at 1-2.)

                                  22           Because all of the materials are public documents created by public agencies, the Court

                                  23   GRANTS the parties' requests for judicial notice.

                                  24           B.      Clean Water Act

                                  25           "Congress enacted the Clean Water Act in 1972 in order to 'restore and maintain the

                                  26
                                  27   2
                                         In total, the parties' requests for judicial notice covered approximately 975 pages of exhibits, the
                                  28   vast majority of which is never cited to by the parties. In the future, the parties should be
                                       judicious when deciding which exhibits will aid the Court's resolution of the motion.
                                                                                             5
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                  Document
                                                                         69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                               Page6 of
                                                                                                     4119
                                                                                                        of 54




                                   1   chemical, physical, and biological integrity of the Nation's waters.'" WaterKeepers N. Cal. v. AG

                                   2   Indus. Mfg., 375 F.3d 913, 915 (9th Cir. 2004) (quoting 33 U.S.C. § 1251). The CWA "prohibits

                                   3   the discharge of pollutants into United States waters except as authorized by the statute." Id.

                                   4   (citing 33 U.S.C. § 1311.) The CWA is administered through the NPDES permit program, and

                                   5   "[t]he discharge of pollutants without an NPDES permit, or in violation of a permit, is illegal." Id.

                                   6               i.    Adequacy of Notice

                                   7          Defendant challenges the adequacy of the Amended Notice. Under the citizen suit

                                   8   provision, the CWA permits private persons and entities to enforce many of its provisions. Ctr.

                                   9   for Biological Diversity v. Marina Point Dev. Co., 566 F.3d 794, 799-800 (9th Cir. 2009). Before

                                  10   a citizen suit may commence, however, "the citizen must give a 60-day notice of intent to sue" to

                                  11   the alleged violator, the EPA, and the state where the alleged violation occurred. Id. at 800. Part

                                  12   of the purpose of the notice is to give the government agencies the opportunity to enforce
Northern District of California
 United States District Court




                                  13   environmental regulations, as well as to give the alleged violator the chance to bring itself into

                                  14   compliance, thus obviating the need for legal action. Id.

                                  15          The 60-day notice "is a jurisdictional necessity," Ctr. for Biological Diversity, 566 F.3d at

                                  16   800. If a party does not comply with the notice requirements, the case must be dismissed. Id.

                                  17   The EPA requires that the notice:

                                  18                    include sufficient information to permit the recipient to identify the
                                                        specific standard, limitation, or order alleged to have been violated,
                                  19                    the activity alleged to constitute a violation, the person or persons
                                                        responsible for the alleged violation, the location of the alleged
                                  20                    violation, the date or dates of such violation, and the full name,
                                                        address, and telephone number of the person giving notice.
                                  21

                                  22   40 C.F.R. § 135.3(a). "The key language in the notice regulation is the phrase 'sufficient

                                  23   information to permit the recipient to identify' the alleged violations and bring itself into

                                  24   compliance." WaterKeepers N. Cal., 375 F.3d at 916 (internal quotation omitted). Thus, "[n]otice

                                  25   is sufficient if it is reasonably specific and if it gives the accused company the opportunity to

                                  26   correct the problem. Although the [CWA]'s notice requirement is strictly construed, plaintiffs are

                                  27   not required to list every specific aspect or detail of every alleged violation." Id. at 917 (internal

                                  28   quotations omitted). At the same time, a satisfactory notice must "tell[] a target precisely what it
                                                                                           6
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                  Document
                                                                         69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                               Page7 of
                                                                                                     4219
                                                                                                        of 54




                                   1   allegedly did wrong, and when. The target is not required to play a guessing game in that respect."

                                   2   Ctr. for Biological Diversity, 566 F.3d at 801.

                                   3                    a. Failure to Mention "Facility," "Storm Water Discharges," or "General Permit"

                                   4          Defendants argue that the Amended Notice is inadequate because it fails to reference the

                                   5   facility, storm water discharges, or the General Permit. (Def.'s Mot. to Dismiss at 18.)

                                   6                        1. Facility
                                   7          Defendants contend that the Amended Notice does not describe the "facility," which the

                                   8   complaint describes as an "industrial facility" that is 283,896 square feet in size, devoted to certain

                                   9   specified uses. (Def.'s Mot. to Dismiss at 18; Def.'s Reply at 3.) Plaintiff does not dispute that he

                                  10   failed to provide the description of the facility. (Plf.'s Opp'n at 5.) Ultimately, however, the Court

                                  11   finds that the description of the "facility" is a description of what Defendant is supposed to be,

                                  12   rather than the location of where the violation is happening. (See Compl. ¶ 30 ("The PORT OF
Northern District of California
 United States District Court




                                  13   OAKLAND . . . is an industrial facility hosting an industrial railway storage yard, hog export

                                  14   terminal, asphalt recycling, fumigation services, truck repair, truck operations, and multiple

                                  15   industrial warehouse rentals totaling 283,896 square feet (hereinafter the 'Facility')").) The

                                  16   location of the alleged violation, in contrast, is the sewage and storm drain system. (Compl. ¶¶ 31-

                                  17   34; 3/22/2017 Notice at 2-3.) The expanded description in the complaint does not modify that;

                                  18   instead, it simply provides more information on what Defendant is alleged to be. The mere failure

                                  19   to describe the facility does not render the notice defective.

                                  20                        2. Storm Water Discharges
                                  21          Defendant argues that the Amended Notice "focuses solely on sanitary sewer discharges,

                                  22   which falls under a completely different regulatory scheme under the CWA than industrial storm

                                  23   water discharges." (Def.'s Mot. at 18-19.) The Court disagrees. While the Amended Notice does

                                  24   not use the term "storm water discharges," it describes "major discharges from the facility's

                                  25   collection system, caused by ruptured pipelines due to inflow and infiltration during periods of

                                  26   heavy rainfall . . . ." (3/22/2017 Notice at 2 (emphasis added).) Those inflow and infiltration

                                  27   problems then "caused discharges of raw sewage and treated effluent to surface waters in violation

                                  28   of the prohibition of [the CWA]." (Id.) Such information gives Defendant sufficient notice
                                                                                          7
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                  Document
                                                                         69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                               Page8 of
                                                                                                     4319
                                                                                                        of 54




                                   1   because the complained of discharges are allegedly occurring during and caused by storm events.

                                   2                        3. General Permit
                                   3          Finally, Defendant contends that Plaintiff never refers to the General Permit, thus failing to

                                   4   identify the standard, limitation, or order at issue. (Def.'s Mot. to Dismiss at 18; Def.'s Reply at

                                   5   4.) In California, the state is responsible for administering the NPDES program, including the

                                   6   issuance of individual permits to industrial dischargers. WaterKeepers N. Cal., 375 F.3d at 915.

                                   7   California has also issued a General Permit, which covers dischargers who file a notice of intent

                                   8   with the state. Id. at 915-16.

                                   9          The Court agrees that Plaintiff fails to refer to the General Permit. While the Amended

                                  10   Notice generally states that the RWQCB issues NPDES permits and otherwise regulates

                                  11   discharges, it does not identify the General Permit nor assert that Defendant's actions violate the

                                  12   General Permit. At the hearing, Plaintiff conceded that he failed to identify the General Permit,
Northern District of California
 United States District Court




                                  13   but argued that he did not need to. The Court disagrees. Because Plaintiff fails to identify the

                                  14   General Permit, Plaintiff does not "identify the specific standard, limitation, or order alleged to

                                  15   have been violated." 40 C.F.R. § 135.3(a); see also Frilling v. Vill. of Anna, 924 F. Supp. 821,

                                  16   834 (S.D. Ohio 1996) (finding that the plaintiff failed to identify the specific standard at issue

                                  17   where the plaintiff "completely failed to identify the Indirect Discharge permit anywhere in their

                                  18   Notice Letter"); cf. WaterKeepers N. Cal., 375 F.3d at 919 (finding notice letter sufficient where it

                                  19   "point[ed] to the specific provisions of the General Permit allegedly violated"). Therefore, the

                                  20   Court lacks jurisdiction to consider Plaintiff's second through fourth causes of actions, which

                                  21   concern Defendant's alleged failure to comply with the General Permit's Discharge Prohibition

                                  22   A(2), Defendant's failure to develop and implement a SWPPP as required by General Permit

                                  23   Section A, and Defendant's failure to develop and implement an adequate monitoring and

                                  24   reporting program as required by General Permit Section B.3 (Compl. ¶¶ 44, 52, 57.)

                                  25          Contrary to Defendant's suggestion, however, the failure to refer to the General Permit is

                                  26   not dispositive as to the entire case. Plaintiff's first cause of action is not dependent on the General

                                  27
                                       3
                                  28    The Amended Notice also never mentions that Defendant failed to develop and implement a
                                       SWPPP, or that it failed to develop and implement an adequate monitoring reporting plan.
                                                                                      8
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                  Document
                                                                         69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                               Page9 of
                                                                                                     4419
                                                                                                        of 54




                                   1   Permit, but instead concerns Defendant's alleged operations "without NPDES permit coverage for

                                   2   their polluted storm water discharges, a violation of Sections 301(a) and 402(p)(2)(B) of the

                                   3   [CWA] . . . ." (Compl. ¶ 41.) The Amended Notice, likewise, alleges that Defendant violated the

                                   4   CWA "by discharging a pollutant from a point source to waters of the United States without a

                                   5   NPDES permit. Clean Water Act § 301(a) . . . ." (3/22/2017 Notice at 2-3 (emphasis added).)

                                   6   Thus, Plaintiff has adequately identified the specific standard or limitation at issue as to his first

                                   7   claim. Therefore, the Court finds dismissal of only the second through fourth causes of actions to

                                   8   be appropriate based on Plaintiff's failure to identify the General Permit.

                                   9                     b. Time or Place of Discharge

                                  10           Next, Defendant argues that Plaintiff fails to identify the time or place of discharge.

                                  11   (Def.'s Mot. to Dismiss at 19-21; Def.'s Reply at 4-6.) The Court disagrees.

                                  12                        1. Timing
Northern District of California
 United States District Court




                                  13           Defendant contends that the allegations regarding timing are not adequate because the

                                  14   Amended Notice only states that the violations are ongoing and have occurred within the last five

                                  15   years. (Def.'s Mot. to Dismiss at 19.) Plaintiff responds that the Amended Notice also specifies

                                  16   that the alleged discharges occurred "during periods of heavy rainfall." (Plf.'s Opp'n at 7; see also

                                  17   3/22/2017 Notice at 2.) Defendant argues that this additional specification is still inadequate

                                  18   because it should not be required to conduct historic meteorological research and that "it defies

                                  19   meteorological science to suggest that every single time it rained, an illicit discharge was caused."

                                  20   (Def.'s Reply at 6.) The Ninth Circuit, however, has found similar allegations regarding timing to

                                  21   be sufficient.

                                  22           In San Francisco BayKeeper, Inc. v. Tosco Corp., the plaintiff alleged that the defendant

                                  23   was causing illegal discharges "'on each day when the wind has been sufficiently strong to blow

                                  24   coke from the piles into the slough.'" 309 F.3d 1153, 1159 (9th Cir. 2002). The plaintiff did not

                                  25   provide any specific dates other than the general date range covered by its notice. Id. The Ninth

                                  26   Circuit found this sufficient to inform the defendant what it was doing wrong with respect to the

                                  27   wind-related discharges. Id. Relying on Tosco Corp., the Ninth Circuit in WaterKeepers

                                  28   Northern California likewise found that the plaintiff's notice stating that the defendant violated the
                                                                                           9
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                 Document69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                                Page
                                                                                                   1045
                                                                                                     of 19
                                                                                                        of 54




                                   1   CWA by discharging polluted storm water "'during at least every rain event over 0.1 inches'" was

                                   2   sufficient. 375 F.3d at 917-18. While the plaintiff also attached two tables listing daily rain

                                   3   accumulation at the area sites, the Ninth Circuit noted that the plaintiff was not actually "required

                                   4   to include any rain tables." Id. Additionally, although the district court had found it significant

                                   5   that the defendant's expert had testified that storm water will not always be discharged from the

                                   6   defendant's facility after a 0.1 inch rainfall, the Ninth Circuit explained that this went to the merits,

                                   7   not the adequacy of the notice letter. Id. at 918.

                                   8          In light of Tosco Corp. and WaterKeepers Northern California, the Court concludes that

                                   9   Plaintiff provided sufficient notice of the timing by stating that the discharges occurred during the

                                  10   last five years during periods of heavy rainfall. See N. Cal. River Watch v. Oakland Mar. Support

                                  11   Servs., Case No. 10-cv-3912-CW, 2011 U.S. Dist. LEXIS 14551, at *14 (N.D. Cal. Feb. 14, 2011)

                                  12   (finding adequate allegations where the notice did not identify specific dates but stated that the
Northern District of California
 United States District Court




                                  13   discharges occurred during "every significant rain event" since a specified date).

                                  14                         2. Location
                                  15          Defendant argues that the Amended Notice does not adequately identify a location because

                                  16   its references to "107,500 linear feet of storm drains and 25,000 linear feet of sanitary sewers

                                  17   within the 366 acre OGDA property" and "transmission pipes within the Port of Oakland servicing

                                  18   Buildings 803 and 804 and running adjacent to 19th Street" is too generalized. (Def.'s Mot. to

                                  19   Dismiss at 20.) Specifically, Defendant contends that these areas are vast, with the OGDA

                                  20   containing "tens of thousands of feet of utility across hundreds of acres of land," including areas

                                  21   that are under the exclusive jurisdiction of the City of Oakland. (Id.) Likewise, the transmission

                                  22   pipes near Buildings 803 and 804 are serviced by tens of thousands of feet of sewer lines, which

                                  23   Defendant also asserts is "unrelated to the industrial storm water concerns raised in the

                                  24   Complaint." (Id. at 21.)

                                  25          To the extent Defendant argues that it may not be responsible for certain pipes, this is an

                                  26   issue on the merits, not whether notice is adequate. (See Def.'s Reply at 4-5.) As to Defendant's

                                  27   contention that Plaintiff's other allegations are too "general," the Court disagrees. Defendant

                                  28   would seem to require that a notice challenging the condition of a sewer system specify every
                                                                                            10
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                 Document69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                                Page
                                                                                                   1146
                                                                                                     of 19
                                                                                                        of 54




                                   1   location where there is a defect, but Defendant cites no authority that requires this level of

                                   2   specificity. Instead, cases in this district concerning storm water conveyance systems or sewer

                                   3   systems have found more general allegations to be sufficient.

                                   4          In California Sportfishing Protection Alliance v. Shiloh Group, LLC, the notice alleged

                                   5   that the defendant was unlawfully discharging polluted storm water "'through numerous discharge

                                   6   points connected to a system of underground storm water conveyances throughout the 31-acre

                                   7   Facility and into Pruitt Creek . . . ." 268 F. Supp. 3d 1029, 1051 (N.D. Cal. 2017). The district

                                   8   court found that this sufficiently identified the location of the alleged violation as the underground

                                   9   storm water conveyance system. Similarly, in Northern California River Watch v. Honeywell

                                  10   Aerospace, the notice identified discharge from "'numerous point sources within the Site

                                  11   including: the above and below ground storage tanks; chemical storage; recycling equipment;

                                  12   waste ponds and solvent transfer equipment identified in the various records of Polluters and the
Northern District of California
 United States District Court




                                  13   regulatory agencies which have oversight of the Site.'" 830 F. Supp. 2d 760, 768 (N.D. Cal.

                                  14   2011). The notice also stated that the discharge occurred "through conduits." Id. The district

                                  15   court concluded that this sufficiently identified the point sources at issue, despite the lack of

                                  16   specifics about each alleged problematic source.

                                  17          Although the Amended Notice covers a significant area, the Court finds that the allegations

                                  18   regarding location are sufficient. The Amended Notice explains that the sewer system is

                                  19   problematic, points to specific areas of particular concern, and explains that the problems cause

                                  20   leakage from the defective pipes into the Bay. (3/22/2017 Notice at 2-3.)

                                  21                    c. Activity that Caused Discharge

                                  22          Finally, Defendant asserts that there is insufficient information about the activity that

                                  23   caused the discharges because it only states that Defendant has serious ongoing violations, owns

                                  24   and operates sewage transmission pipes with a chronic history of inflow and infiltration and

                                  25   cracks, and has a major history of discharges. (Def.'s Mot. to Dismiss at 22.) Again, the Court

                                  26   disagrees. The Amended Notice states that there are cracks in the piping of the sewage

                                  27   transmission pipes servicing Buildings 803 and 804. (3/22/2017 Notice at 2.) It also states that

                                  28   the storm drains and sanitary sewers within the OGDA property have defects, describes those
                                                                                         11
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                 Document69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                                Page
                                                                                                   1247
                                                                                                     of 19
                                                                                                        of 54




                                   1   defects, and states that the defects have resulted in the contamination of soil and groundwater by

                                   2   certain specified chemicals. (Id.) Those materials then leach into storm drains that empty into the

                                   3   Bay. The Amended Notice further describes problems with the collection system during periods

                                   4   of heavy rainfall, where leakage causes "a back of head pressure which in turn, forces the leaked

                                   5   raw effluent into Bay waters." (Id.) In short, the Amended Notice sufficiently describes the

                                   6   alleged problems with the sewage system and storm drains, which in turn cause pollutants to enter

                                   7   the Bay. Compare with Honeywell Aerospace, 830 F. Supp. 2d at 768 (finding sufficient

                                   8   allegations where the notice letter explained that solid and hazardous wastes were being

                                   9   discharged from tanks and through conduits to an estuary).

                                  10              ii.    Failure to State a Claim

                                  11          Defendant argues that Plaintiff has failed to state a claim because Plaintiff describes

                                  12   Defendant as "an industrial facility hosting an industrial railway storage yard, hog export terminal,
Northern District of California
 United States District Court




                                  13   asphalt recycling, fumigation services, truck repair, truck operations, and multiple industrial

                                  14   warehouse rentals totaling 283,896 square feet (hereinafter the 'Facility')." (Compl. ¶ 30.)

                                  15   Defendant contends that this description is not accurate, and that there is no location in the Port

                                  16   that contains a facility of 283,896 square feet dedicated to the uses identified by Plaintiff. (Def.'s

                                  17   Mot. to Dismiss at 23-24; Def.'s Reply at 9.)

                                  18          Plaintiff does not dispute that this description appears to be inaccurate, focusing solely on

                                  19   whether the "Port of Oakland" exists. (Plf.'s Opp'n at 8-9.) At the same time, it is not clear that

                                  20   the failure to adequately describe Defendant is fatal to the complaint when what Defendant is

                                  21   precisely is not at issue as to whether the CWA was violated based on Defendant's maintenance of

                                  22   its sewer systems. At the hearing, Plaintiff agreed to modify the description.

                                  23              iii.   Mootness

                                  24          Defendant argues that to the extent Plaintiff is bringing claims based on the RWQCB

                                  25   Order No. R2-2004-00086 ("RWQCB Order") or the cracks in sewage transmission pipes

                                  26   servicing Buildings 803 and 804, these claims are moot. (Def.'s Mot. to Dismiss at 24.)

                                  27          "Longstanding principles of mootness . . . prevent the maintenance of suit when there is no

                                  28   reasonable expectation that the wrong will be repeated." Gwaltney of Smithfield v. Chesapeake
                                                                                         12
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                 Document69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                                Page
                                                                                                   1348
                                                                                                     of 19
                                                                                                        of 54




                                   1   Bay Found., 484 U.S. 49, 66 (1987) (internal quotations omitted). Thus, "[a] citizen suit is moot if

                                   2   it is based on wholly past violations, and if there is no reasonable expectation that the alleged

                                   3   wrong will be repeated." Shiloh Grp., LLC, 268 F. Supp. 3d at 1041 (citing Gwaltney, 484 U.S. at

                                   4   66-67). "In seeking to have a case dismissed as moot, however, the defendant's burden is a heavy

                                   5   one. The defendant must demonstrate that it is absolutely clear that the allegedly wrongful

                                   6   behavior could not reasonably be expected to recur." Gwaltney, 484 U.S. at 66 (internal

                                   7   quotations omitted).

                                   8                    a. Regional Water Quality Control Board Order

                                   9          Defendant contends that to the extent Plaintiff's suit is based on the RWQCB Order, the

                                  10   case is moot because Defendant has fully complied with the order, relying on a No Further Action

                                  11   letter issued by the RWQCB on December 20, 2013. (Def.'s Mot. to Dismiss at 25; see also Def.'s

                                  12   RJN, Exh. 17.) Moreover, Defendant states that this order "was issued in relation to former
Northern District of California
 United States District Court




                                  13   underground and aboveground petroleum storage tanks and had absolutely nothing to do with

                                  14   sanitary sewer lines or any wrongdoing by" Defendant. (Id.) Plaintiff responds that it is not clear

                                  15   that the December 20, 2013 No Further Action letter covers the entirety of the RWQCB Order.

                                  16   (Plf.'s Opp'n at 10.) In its reply, Defendant for the first time presents evidence that every

                                  17   Petroleum case at the former Oakland Army Base has been closed. (Def.'s Reply at 9-10; Def.'s

                                  18   Supp. RJN, Exh. 21.)

                                  19          The Court finds that anything covered by the December 20, 2013 No Further Action letter

                                  20   is moot. Plaintiff does not argue otherwise, as Plaintiff's argument is focused solely on whether

                                  21   the December 20, 2013 No Further Action is for the entire RWQCB Order.

                                  22          It is, however, entirely unclear to the Court why the RWQCB Order is relevant to the

                                  23   claims in this case. The RWQCB Order appears to be concerned with petroleum releases from

                                  24   underground storage tanks and drums of solvents, paints, or other chemicals. (Plf.'s RJN, Exh. A

                                  25   ("RWQCB Order") at 4-5.) At the hearing, Plaintiff also agreed that the RWQCB Order was only

                                  26   relevant to the removal of the underground storage tanks.4 The RWQCB also focuses its concerns

                                  27
                                       4
                                  28    Plaintiff argued that there may be additional land use controls and covenants being imposed by
                                       California's Department of Toxic Substances Control ("DTSC"). (See Plf.'s Opp'n at 10.) It is not
                                                                                        13
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                 Document69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                                Page
                                                                                                   1449
                                                                                                     of 19
                                                                                                        of 54




                                   1   on the release of VOCs into groundwater, including vinyl chloride, cis-1,2-dichloroethene, trans-

                                   2   1,2-dichloroethene, trichloroethene, and 1,1,2,2-tetrachloroethane. (Id. at 5.) In contrast, the

                                   3   Amended Notice is concerned with storm water and sewage discharges into the Bay, with

                                   4   chemicals of concern being petroleum hydrocarbons, polycyclic aromatic hydrocarbons, lead and

                                   5   other heavy metals, polychlorinated biphenyls, pesticides, and raw sewage. (3/22/2017 Notice at

                                   6   2.) Likewise, the first cause of action is focused on the release of polluted storm water discharges

                                   7   without a NPDES permit. (Compl. ¶¶ 38, 41.) This claim does not raise any concerns about

                                   8   petroleum discharges into groundwater. While this is a distinct issue from mootness, the Court

                                   9   notes that the RWQCB Order does not seem to have any relevance to this case, and it is unclear

                                  10   how Plaintiff can raise any claims based on the RWQCB Order.

                                  11                    b. Buildings 803 and 804

                                  12          Defendant also argues that any claims related to Buildings 803 and 804 are moot because
Northern District of California
 United States District Court




                                  13   work on the sanitary sewer lines servicing these buildings was completed in May 2018, pursuant

                                  14   to a Connection Agreement between Defendant and the City of Oakland. (Def.'s Mot. to Dismiss

                                  15   at 26.) Defendant contends that this work included the replacement, abandonment, and/or slip

                                  16   lining of the subject sewer lines. (Id.)

                                  17          The Court finds that at this juncture, Defendant has failed to satisfy its "heavy burden" that

                                  18   it is "absolutely clear that the allegedly wrongful behavior could not reasonably be expected to

                                  19   recur." Gwaltney, 484 U.S. at 66 (internal quotation omitted). Defendant makes no showing as to

                                  20   the full scope of the work of the sewer lines, and whether it would cover the entirety of the cracks

                                  21   discussed by the Amended Notice. Indeed, the Connection Agreement appears to have a very

                                  22   limited scope of "proposed temporary restroom installation/connection work" to update the

                                  23   infrastructure and facilitate connections between the 800 Series Buildings to a new sewer system.

                                  24   (Def.'s RJN, Exh. 15 ("Connection Agreement") at ¶ D.) It is not clear this "proposed temporary

                                  25   restroom installation/connection work" necessarily fixes every alleged cracks in the sewage

                                  26
                                  27   clear how this is relevant to this case either. Such controls are separate from the RWQCB Order,
                                       the only order specifically mentioned in the Amended Notice. Thus, to the extent Plaintiff is
                                  28   depending on an unspecified DTSC order, the Court will likely lack jurisdiction over any such
                                       claims.
                                                                                          14
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                 Document69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                                Page
                                                                                                   1550
                                                                                                     of 19
                                                                                                        of 54




                                   1   transmission pipes servicing Buildings 803 and 804 and running adjacent to 19th Street. The

                                   2   Court therefore cannot conclude that Plaintiff's claims related to Buildings 803 and 804 are moot.

                                   3              iv.    Standing

                                   4           Defendant argues that Plaintiff has failed to establish Article III standing. "[T]o satisfy

                                   5   Article III's standing requirements, a plaintiff must show (1) it has suffered an 'injury in fact' that

                                   6   is (a) concrete and particularized and (b) actual or imminent, not conjectural or hypothetical; (2)

                                   7   the injury is fairly traceable to the challenged action of the defendant; and (3) it is likely, as

                                   8   opposed to merely speculative, that the injury will be redressed by a favorable decision." Friends

                                   9   of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180-81 (2000).

                                  10           First, Defendant argues that Plaintiff fails to adequately allege injury. (Def.'s Mot. to

                                  11   Dismiss at 27-28.) The Court disagrees. In his complaint, Plaintiff alleges that he "uses and

                                  12   enjoys the waters of the San Francisco Bay," including "us[ing] these areas to fish, sail, boat,
Northern District of California
 United States District Court




                                  13   kayak, swim, birdwatch, view wildlife, and engage in scientific studies." (Compl. ¶ 8.) Defendant

                                  14   argues that this is inadequate because Plaintiff cannot perform these activities in the Port or the

                                  15   areas immediately adjacent to the Port. (Def.'s Mot. to Dismiss at 28; Def.'s Reply at 10.)

                                  16   Defendant cites no authority that Plaintiff must perform activities immediately adjacent to the

                                  17   allegedly polluting site, particularly when contaminants are capable of spreading. Contrast with

                                  18   Laidlaw, 528 U.S. at 181-82 (finding that injury in fact was adequately documented where one of

                                  19   the plaintiff members alleged that "he would like to fish, camp, swim, and picnic in and near the

                                  20   river between 3 and 15 miles downstream from the facility").

                                  21           In the alternative, Defendant argues that the Bay is publicly accessible to and used by

                                  22   millions of people, which means Plaintiff's injury is not "particularized" and no greater than any

                                  23   other member of the public residing in the Bay Area. (Def.'s Mot. to Dismiss at 28.) The Court

                                  24   rejects this argument. The Supreme Court does not require that a plaintiff engage in a use that is

                                  25   different from any other use that members of the public could engage in; it requires that the

                                  26   plaintiff does use or would use the affected area if not for the alleged pollution. In Laidlaw, the

                                  27   Supreme Court explained that "environmental plaintiffs adequately allege injury in fact when they

                                  28   aver that they use the affected area and are persons for whom the aesthetic and recreational values
                                                                                          15
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                 Document69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                                Page
                                                                                                   1651
                                                                                                     of 19
                                                                                                        of 54




                                   1   of the area will be lessened by the challenged activity." 528 U.S. at 183. The Supreme Court did

                                   2   not require that the plaintiffs use the affected area in a unique way; the sole issue was whether

                                   3   their recreational, aesthetic, and/or economic interests were affected. Id. at 183-84. Thus, the

                                   4   Supreme Court found that injury in fact was adequately alleged where the plaintiff members

                                   5   asserted that they would use the affected river for fishing, swimming, birdwatching, boating, and

                                   6   other recreational purposes, if not for the pollution. Id. at 181-83. As applied here, Plaintiff is not

                                   7   obligated to assert that he would use the Bay differently from how the rest of the public could use

                                   8   it; he need only aver that he does use or would use the area if not for the alleged pollution, which

                                   9   he has done. Therefore, the Court finds that Plaintiff has adequately alleged injury.

                                  10          Second, Defendant argues that Plaintiff does not allege causation because other entities

                                  11   may also be responsible for discharges. (Def.'s Mot. to Dismiss at 29.) Defendant relies on Lujan

                                  12   v. Defenders of Wildlife, in arguing that "[P]laintiff must demonstrate there are not 'independent
Northern District of California
 United States District Court




                                  13   actors not before the court[] and whose exercise of broad and legitimate discretion the courts

                                  14   cannot presume either to control or to predict.'" (Id. (quoting Lujan, 504 U.S. 555, 562 (1992).)

                                  15   This discussion in Lujan, however, concerned the specific situation of "[w]hen the suit is one

                                  16   challenging the legality of government action or inaction," specifically when "a plaintiff's asserted

                                  17   injury arises from the government's alleged unlawful regulation (or lack of regulation) of someone

                                  18   else." Lujan, 504 U.S. at 561-62. In those circumstances, causation is reliant "on the response of

                                  19   the regulated (or regulable) third party to the government action or inaction," who might not be

                                  20   before the court. Id. at 562. Lujan does not, however, suggest that the fact that other entities may

                                  21   pollute as well absolves a polluter from having caused or contributed to a plaintiff's injury. The

                                  22   Court rejects this argument, and finds that Plaintiff has adequately alleged causation.

                                  23              v.    Indispensable Parties

                                  24          Finally, Defendants seek dismissal under Rule 12(b)(7) based on Plaintiff's failure to join

                                  25   indispensable parties, including the City of Oakland and private leaseholders. (Def.'s Mot. to

                                  26   Dismiss at 30-31.) "Rule 19(a) requires joinder of persons whose absence would preclude the

                                  27   grant of complete relief, or whose absence would impede their ability to protect their interests, or

                                  28   would subject any of the parties to the danger of inconsistent obligations." Barnes & Noble, Inc.
                                                                                         16
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                 Document69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                                Page
                                                                                                   1752
                                                                                                     of 19
                                                                                                        of 54




                                   1   v. LSI Corp., 823 F. Supp. 2d 980, 986 (N.D. Cal. 2011). Where a party is required to be joined

                                   2   but cannot be joined, "the court must determine whether, in equity and good conscience, the action

                                   3   should proceed among the existing parties or should be dismissed." Fed. R. Civ. P. 19(b).

                                   4          As an initial matter, Defendant's motion to dismiss under Rule 12(b)(7) must be denied

                                   5   because Defendant does not assert that the other parties cannot be joined to the current action. In

                                   6   Barnes & Noble, Inc., the district court denied the defendant's motion to dismiss for failure to join

                                   7   necessary parties because the motion "makes no attempt . . . to explain how these parties cannot be

                                   8   joined to the current action . . . ." 823 F. Supp. 2d at 986; see also Treefrog Devs. v. Klearkase,

                                   9   LLC, Case No. 13-cv-1575 H (KSC), 2013 U.S. Dist. LEXIS 197894, at *12 (S.D. Cal. Oct. 25,

                                  10   2013) ("denial is appropriate because Defendants do not provide the Court with any reasons why

                                  11   either Otter entity cannot be joined").

                                  12          To the extent Defendant argues that Plaintiff should be required to name the City of
Northern District of California
 United States District Court




                                  13   Oakland, this does not seem to be an issue of joinder, but rather a claim that the "Port of Oakland"

                                  14   is an informal nickname while its proper name is "the City of Oakland, a municipal corporation,

                                  15   acting by and through its Board of Port Commissioners." (Def.'s Mot. to Dismiss at 30; Def.'s

                                  16   Reply at 11.) At the hearing, Defendant explained that there are two issues. First, Defendant

                                  17   stated that "Port of Oakland" is not the proper name, and that this should be modified. Second,

                                  18   Defendant argued that Plaintiff should be required to add the City of Oakland, the municipal

                                  19   corporation, acting through its City Council. Defendant contends this addition is necessary

                                  20   because the OGDA is half-owned by the City acting through the City Council, and half-owned by

                                  21   the City acting through the Board of Port Commissioners.

                                  22          The Court agrees that Plaintiff should amend the complaint to name the "City of Oakland,

                                  23   a municipal corporation, acting by and through its Board of Port Commissioners," in place of

                                  24   "Port of Oakland." At the hearing, Plaintiff also agreed to do so. With respect to naming the City

                                  25   of Oakland, acting through its City Council, it is not as clear this is a necessary party. While the

                                  26   OGDA property may be owned by both entities, any claims against the City of Oakland acting

                                  27   through the Board of Port Commissioners would presumably be limited to the property owned by

                                  28   that entity. Plaintiff may name the City of Oakland, acting through its City Council, if he believes
                                                                                         17
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                 Document69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                                Page
                                                                                                   1853
                                                                                                     of 19
                                                                                                        of 54




                                   1   it is warranted to fully address his claims.

                                   2          As to leaseholders, the Court disagrees that these are indispensable parties. Plaintiff has

                                   3   alleged that Defendant's failure to maintain its sewage and storm drain systems has resulted in the

                                   4   release of polluted storm water into the Bay. (See Compl. ¶¶ 38, 41.) Defendant cites no authority

                                   5   that in such circumstances, the leaseholders must be added to the litigation. Indeed, this argument

                                   6   appears contrary to Ninth Circuit authority, which finds that the CWA "prohibit[s] discharge by

                                   7   those who merely convey pollutants, and who do not generate pollutants or add them to storm

                                   8   water." Shiloh Grp., LLC, 268 F. Supp. 3d at 1044. In Natural Resources Defense Council, Inc. v.

                                   9   County of Los Angeles, the defendants operated a municipal separate storm sewer system ("MS4")

                                  10   that collected, transported, and discharged storm water. 673 F.3d 880, 899-900 (9th Cir. 2011),

                                  11   overturned on other grounds by L.A. Cty. Flood Control Dist. v. Nat. Res. Def. Council, Inc., 568

                                  12   U.S. 78, 80 (2013) (limiting review of case to the single question of whether flow of water out of a
Northern District of California
 United States District Court




                                  13   concrete channel within a river constitute a discharge of a pollutant). The Ninth Circuit rejected

                                  14   the defendants'5 argument that channeling pollutants created by other municipalities or industrial

                                  15   NPDES permitees did not create liability, explaining that "the [CWA] does not distinguish

                                  16   between those who add and those who convey what is added by others--the Act is indifferent to

                                  17   the originator of water pollution." Id. at 900. In other words, the CWA "bans the discharge of any

                                  18   pollutant by any person regardless of whether that person was the root cause or merely the current

                                  19   superintendent of the discharge." Id. (internal quotation omitted). Thus, Defendant's liability here

                                  20   for failing to maintain its sewage and storm drain systems is not affected by whether the

                                  21   leaseholders were the ultimate creators of the pollutants. See also Shiloh Grp., LLC, 268 F. Supp.

                                  22   3d at 1046. Because the actions of any leaseholders does not impact Defendant's liability, the

                                  23   Court finds they are not essential parties.

                                  24                                          IV.     CONCLUSION
                                  25          For the reasons stated above, the Court GRANTS Defendant's motion to dismiss as to the

                                  26   second through fourth causes of action, and DENIES Defendant's motion to dismiss as to the first

                                  27
                                       5
                                  28     Notably, the case was brought solely against the county and the county individuals who were
                                       responsible for the MS4, and not against any of the entities that actually created the pollutants.
                                                                                        18
                                       Case
                                         Case
                                            3:24-cv-02311-TSH
                                               4:18-cv-03353-KAWDocument
                                                                 Document69-3
                                                                           24 Filed
                                                                               Filed10/05/18
                                                                                     10/30/24 Page
                                                                                                Page
                                                                                                   1954
                                                                                                     of 19
                                                                                                        of 54




                                   1   cause of action. The Court, however, ORDERS Plaintiff to file an amended complaint that

                                   2   modifies the description of Defendant and names the "City of Oakland, a municipal corporation,

                                   3   acting by and through its Board of Port Commissioners," in place of "Port of Oakland." The

                                   4   amended complaint shall be filed by October 22, 2018, and may not add any new causes of action

                                   5   without Court approval.

                                   6          IT IS SO ORDERED.

                                   7   Dated: October 5, 2018
                                                                                           __________________________________
                                   8                                                       KANDIS A. WESTMORE
                                   9                                                       United States Magistrate Judge

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                      19
